                    Case 17-57632-lrc                  Doc 1           Filed 04/28/17 Entered 04/28/17 15:04:17                     Desc Main
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 Fill in this information to identify your case:


 United States Bankruptcy Court for the:
         Northern          District of:     Georgia
                                          (State)

 Case number (if known)                                          Chapter you are filing under:

                                                                      Chapter 7
                                                                      Chapter 11
                                                                      Chapter 12                                                       Check if this is an
                                                                      Chapter 13                                                       amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                     12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,
"the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:     Identify Yourself
                                    About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
 1.   Your full name                  Gloria
                                    First name                                                         First name
      Write the name that is on       Dean
      your government-issued
      picture identification (for   Middle name                                                        Middle name
      example, your driver's          Gibson
      license or passport           Last name                                                          Last name
      Bring your picture
      identification to your        Suffix (Sr., Jr., II, III)                                         Suffix (Sr., Jr., II, III)
      meeting with the trustee.

 2.   All other names you
      have used in the last         First name                                                         First name
      8 years
                                    Middle name                                                        Middle name
      Include your married or
      maiden names.
                                    Last name                                                          Last name

                                    First name                                                         First name

                                    Middle name                                                        Middle name

                                    Last name                                                          Last name
 3.   Only the last 4 digits         xxx - xx-               1432                                        xxx - xx-
      of your Social
      Security number or             OR                                                                  OR
      federal Individual
      Taxpayer                       9 xx - xx-                                                          9 xx - xx-
      Identification number
      (ITIN)


      Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                            page 1
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Debtor 1 Gloria                           Dean                         Gibson                      Case number (if known)
           First Name                     Middle Name                  Last Name


                               About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names               I have not used any business names or EINs.                           I have not used any business names or EINs.
     and Employer
     Identification
     Numbers (EIN) you         Business name                                                         Business name
     have used in the last
     8 years                   Business name                                                         Business name
     Include trade names and
     doing business as names   EIN                                                                   EIN

                               EIN                                                                   EIN

5.   Where you live                                                                                   If Debtor 2 lives at a different address:
                               381 Kurtz Road
                               Number               Street                                           Number                 Street


                               Marietta                 Georgia             30066
                               City                     State               Zip Code                 City                     State               Zip Code

                               Cobb
                               County                                                                County
                               If your mailing address is different from the one                     If Debtor 2’s mailing address is different from yours,
                               above, fill it in here. Note that the court will send any             fill it in here. Note that the court will send any notices to
                               notices to you at this mailing address.                               this mailing address.

                               Number               Street                                           Number                 Street




                               City                          State              Zip Code             City                            State           Zip Code

6.   Why you are               Check one:                                                            Check one:
     choosing this district
     to file for bankruptcy           Over the last 180 days before filing this petition, I have            Over the last 180 days before filing this petition, I have
                                      lived in this district longer than in any other district.             lived in this district longer than in any other district.
                                      I have another reason. Explain. (See 28 U.S.C. §§ 1408.)              I have another reason. Explain. (See 28 U.S.C. §§ 1408.)




     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                            page 2
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Debtor 1 Gloria                            Dean                        Gibson                     Case number (if known)
            First Name                     Middle Name                 Last Name

Part 2:     Tell the Court About Your Bankruptcy Case
7.    The chapter of the   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
      Bankruptcy Code you Bankruptcy (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under                   Chapter 7
                                    Chapter 11
                                    Chapter 12
                                    Chapter 13

8.    How you will pay the          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for
      fee                           more details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash,
                                    cashier's check, or money order... If your attorney is submitting your payment on your behalf, your attorney
                                    may pay with a credit card or check with a pre-printed address.
                                    I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                    Individuals to Pay Your Filing Fee in Installments (Official Form 103A).
                                    I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                    judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of
                                    the official poverty line that applies to your family size and you are unable to pay the fee in installments). If
                                    you choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official
                                    Form 103B) and file it with your petition.

9.    Have you filed for            No.
      bankruptcy within the
      last 8 years?                 Yes. District                                          When                       Case number
                                                                                                  MM / DD / YYYY
                                           District                                        When                       Case number
                                                                                                  MM / DD / YYYY
                                           District                                        When                       Case number
                                                                                                  MM / DD / YYYY

10.   Are any bankruptcy            No.
      cases pending or
      being filed by a              Yes.   Debtor                                                                     Relationship to you
      spouse who is not                    District                                        When                       Case number, if known
      filing this case with                                                                       MM / DD / YYYY
      you, or by a business                Debtor                                                                     Relationship to you
      partner, or by an
                                           District                                        When                       Case number, if known
      affiliate?                                                                                  MM / DD / YYYY

11.   Do you rent your              No. Go to line 12.
      residence?
                                    Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                       this bankruptcy petition.




      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1 Gloria                          Dean                         Gibson                       Case number (if known)
            First Name                   Middle Name                  Last Name

Part 3:     Report About Any Businesses You Own as a Sole Proprietor
12.   Are you a sole                   No. Go to Part 4.
      proprietor of any full-
      or part-time                     Yes. Name and location of business
      business?
      A sole proprietorship                     Name of business, if any
      is a business you
      operate as an                             Number                            Street
      individual, and is not a
      separate legal entity
      such as a corporation,
      partnership, or LLC.
      If you have more than                     City                                       State                            Zip Code
      one sole
      proprietorship, use a                     Check the appropriate box to describe your business:
      separate sheet and
      attach it to this                                 Health Care Business (as defined in 11 U.S.C. § 101(27A))
      petition.                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        None of the above

13.   Are you filing under       If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
      Chapter 11 of the          appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
      Bankruptcy Code and        sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
      are you a small            exist, follow the procedure in 11 U.S.C. § 11 16(1)(B).
      business debtor?
                                       No. I am not filing under Chapter 11.
      For a definition of
      small business debtor,           No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
      see 11 U.S.C. §                         Bankruptcy Code.
      101(51D).
                                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                              Code.

Part 4:     Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention
14.   Do you own or have              No.
      any property that
      poses or is alleged to          Yes.   What is the hazard?
      pose a threat of
      imminent and                           If immediate attention is needed, why is it needed?
      identifiable hazard to
      public health or
      safety? Or do you                      Where is the property?
      own any property                                                 Number                      Street
      that needs immediate
      attention?
      For example, do you
      own perishable goods,
                                                                       City                                  State                     Zip Code
      or livestock that must
      be fed, or a building
      that needs urgent
      repairs?



      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 4
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Debtor 1 Gloria                           Dean                       Gibson                        Case number (if known)
            First Name                    Middle Name                Last Name

Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                  About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):

15.   Tell the court              You must check one:                                                You must check one:
      whether you have               I received a briefing from an approved credit                       I received a briefing from an approved credit
      received briefing              counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      about credit                   filed this bankruptcy petition, and I received a                    filed this bankruptcy petition, and I received a
      counseling.                    certificate of completion.                                          certificate of completion.
      The law requires that          Attach a copy of the certificate and the payment plan,              Attach a copy of the certificate and the payment plan,
      you receive a briefing         if any, that you developed with the agency.                         if any, that you developed with the agency.
      about credit                   I received a briefing from an approved credit                       I received a briefing from an approved credit
      counseling before you          counseling agency within the 180 days before I                      counseling agency within the 180 days before I
      file for bankruptcy.           filed this bankruptcy petition, but I do not have a                 filed this bankruptcy petition, but I do not have a
      You must truthfully            certificate of completion.                                          certificate of completion.
      check one of the
                                     Within 14 days after you file this bankruptcy petition,             Within 14 days after you file this bankruptcy petition,
      following choices. If          you MUST file a copy of the certificate and payment                 you MUST file a copy of the certificate and payment
      you cannot do so, you          plan, if any.                                                       plan, if any.
      are not eligible to file.
                                     I certify that I asked for credit counseling services               I certify that I asked for credit counseling services
      If you file anyway, the        from an approved agency, but was unable to                          from an approved agency, but was unable to
      court can dismiss your         obtain those services during the 7 days after I                     obtain those services during the 7 days after I
      case, you will lose            made my request, and exigent circumstances                          made my request, and exigent circumstances
                                     merit a 30-day temporary waiver of the                              merit a 30-day temporary waiver of the
      whatever filing fee you        requirement.                                                        requirement.
      paid, and your
      creditors can begin            To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
      collection activities          requirement, attach a separate sheet explaining what                requirement, attach a separate sheet explaining what
      again.                         efforts you made to obtain the briefing, why you were               efforts you made to obtain the briefing, why you were
                                     unable to obtain it before you filed for bankruptcy, and            unable to obtain it before you filed for bankruptcy, and
                                     what exigent circumstances required you to file this                what exigent circumstances required you to file this
                                     case.                                                               case.
                                     Your case may be dismissed if the court is dissatisfied             Your case may be dismissed if the court is dissatisfied
                                     with your reasons for not receiving a briefing before               with your reasons for not receiving a briefing before
                                     you filed for bankruptcy.                                           you filed for bankruptcy.
                                     If the court is satisfied with your reasons, you must still         If the court is satisfied with your reasons, you must still
                                     receive a briefing within 30 days after you file. You               receive a briefing within 30 days after you file. You
                                     must file a certificate from the approved agency, along             must file a certificate from the approved agency, along
                                     with a copy of the payment plan you developed, if any.              with a copy of the payment plan you developed, if any.
                                     If you do not do so, your case may be dismissed.                    If you do not do so, your case may be dismissed.
                                     Any extension of the 30-day deadline is granted only                Any extension of the 30-day deadline is granted only
                                     for cause and is limited to a maximum of 15 days.                   for cause and is limited to a maximum of 15 days.
                                     I am not required to receive a briefing about credit                I am not required to receive a briefing about credit
                                     counseling because of:                                              counseling because of:
                                         Incapacity.     I have a mental illness or a mental                  Incapacity.    I have a mental illness or a mental
                                                         deficiency that makes me                                            deficiency that makes me
                                                         incapable of realizing or making                                    incapable of realizing or making
                                                         rational decisions about finances.                                  rational decisions about finances.
                                          Disability. My physical disability causes me to                     Disability.    My physical disability causes me to
                                                         be unable to participate in a                                       be unable to participate in a
                                                         briefing in person, by phone, or                                    briefing in person, by phone, or
                                                         through the internet, even after I                                  through the internet, even after I
                                                         reasonably tried to do so.                                          reasonably tried to do so.
                                          Active duty. I am currently on active military                      Active duty. I am currently on active military
                                                         duty in a military combat zone.                                     duty in a military combat zone.
                                     If you believe you are not required to receive a briefing           If you believe you are not required to receive a briefing
                                     about credit counseling, you must file a motion for                 about credit counseling, you must file a motion for
                                     waiver of credit counseling with the court.                         waiver of credit counseling with the court.



      Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                        page 5
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Debtor 1 Gloria                         Dean                         Gibson                     Case number (if known)
            First Name                  Middle Name                  Last Name

Part 6:  Answer These Questions for Reporting Purposes
16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
    you have?                  "incurred by an individual primarily for a personal, family, or household purpose."
                                   No. Go to line 16b.
                                   Yes. Go to line 17.
                          16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                               money for a business or investment or through the operation of the business or investment.
                                   No. Go to line 16c.
                                   Yes. Go to line 17.
                          16c. State the type of debts you owe that are not consumer debts or business debts.

17.   Are you filing under          No. I am not filing under Chapter 7. Go to line 18.
      Chapter 7?
      Do you estimate that          Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      after any exempt                   expenses are paid that funds will be available to distribute to unsecured creditors?
      property is excluded
      and administrative                       No.
      expenses are paid that                   Yes.
      funds will be available
      for distribution to
      unsecured creditors?
18.   How many creditors            1-49                                         1,000-5,000                                25,001-50,000
      do you estimate that          50-99                                        5,001-10,000                               50,001-100,000
      you owe?                      100-199                                      10,001-25,000                              More than 100,000
                                    200-999
19.   How much do you               $0-$50,000                                   $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your assets          $50,001-$100,000                             $10,000,001-$50 million                    $1,000,000,001-$10 billion
      to be worth?                  $100,001-$500,000                            $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                    $500,001-$1 million                          $100,000,001-$500 million                  More than $50 billion
20.   How much do you               $0-$50,000                                   $1,000,001-$10 million                     $500,000,001-$1 billion
      estimate your                 $50,001-$100,000                             $10,000,001-$50 million                    $1,000,000,001-$10 billion
      liabilities to be?            $100,001-$500,000                            $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                    $500,001-$1 million                          $100,000,001-$500 million                  More than $50 billion
Part 7:     Sign Below
For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and
                                correct.
                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                under Chapter 7.
                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill
                                out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or
                                both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                û       /s/ Gloria Gibson
                                     Signature of Debtor 1
                                                                                                  û     Signature of Debtor 2

                                     Executed on           4/28/2017                                    Executed on
                                                              MM / DD / YYYY                                                    MM / DD / YYYY




      Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 6
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Debtor 1 Gloria                     Dean                       Gibson                     Case number (if known)
         First Name                 Middle Name                Last Name


For your attorney, if you   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
are represented by one      eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                            relief available under each chapter for which the person is eligible. I also certify that I have delivered to the
If you are not              debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I
represented by an           have no knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
attorney, you do not
need to file this page.     û       /s/ Howie Slomka
                                 Signature of Attorney for Debtor
                                                                                           Date            4/28/2017
                                                                                                         MM / DD / YYYY



                                 Howie Slomka
                                 Printed name

                                 MY ATL LAW
                                 Firm name
                                 1069 Spring Street NW
                                 Street
                                 Suite 200

                                 Atlanta                                        Georgia                                 30309
                                 City                                           State                                   Zip Code

                                 Contact phone                                        Email address                hs@myatllaw.com

                                 652875                                                             Georgia
                                 Bar number                                                         State




   Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                               page 7
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Fill in this information to identify your case:
Debtor 1               Gloria                         Dean                     Gibson
                       First Name                     Middle Name              Last Name
Debtor 2
(Spouse, if filing)    First Name                     Middle Name              Last Name
United States Bankruptcy Court for the:       Northern                    District of Georgia
                                                                                      (State)
Case number
(If known)
                                                                                                                                                Check if this is an
Official Form 107                                                                                                                               amended filing


Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1.      What is your current marital status?

                Married
                Not married

 2.      During the last 3 years, have you lived anywhere other than where you live now?

                No
                Yes. List all of the places you lived in the last 3 years. Do not include where you live now.


                Debtor 1:                                       Dates Debtor 1 lived            Debtor 2:                              Dates Debtor 2 lived
                                                                there                                                                  there

                                                                                                       Same as Debtor 1                     Same as Debtor 1

                3848 Nowlin Road
                Number Street                                   From 01/2015                    Number Street                          From
                                                                To      02/2016                                                        To

                Kennesaw            Georgia    30144
                City                State      Zip Code                                         City               State   Zip Code
                                                                                                       Same as Debtor 1                     Same as Debtor 1


                Number Street                                   From                            Number Street                          From
                                                                To                                                                     To


                City                State      Zip Code                                         City               State   Zip Code

 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
    and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

             No
             Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




      Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 1
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Debtor 1 Gloria                            Dean                           Gibson                         Case number (if known)
            First Name                     Middle Name                    Last Name

Part 2:    Explain the Sources of Your Income
4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time
      activities. If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
            No
            Yes. Fill in the details.

                                                  Debtor 1                                                        Debtor 2


                                                  Sources of income                   Gross income                Sources of income        Gross income
                                                  Check all that apply.               (before deductions and      Check all that apply.    (before deductions and
                                                                                      exclusions)                                          exclusions)

                                                      Wages,                                 $1.00                     Wages,
        From January 1 of current year until          commissions,                                                     commissions,
        the date you filed for bankruptcy:            bonuses, tips                                                    bonuses, tips
                                                      Operating a                                                      Operating a
                                                      business                                                         business
                                                      Wages,                              $66880.00                    Wages,
        For last calendar year:                       commissions,                                                     commissions,
        (January 1 to December 31, 2016 )             bonuses, tips                                                    bonuses, tips
                                   YYYY               Operating a                                                      Operating a
                                                      business                                                         business
                                                      Wages,                              $50000.00                    Wages,
        For the calendar year before that:            commissions,                                                     commissions,
        (January 1 to December 31, 2015 )             bonuses, tips                                                    bonuses, tips
                                    YYYY              Operating a                                                      Operating a
                                                      business                                                         business

5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
   public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
   filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                    Debtor 1                                                       Debtor 2


                                                    Sources of income                  Gross income from           Sources of income        Gross income from
                                                    Describe below.                    each source                 Describe below.          each source
                                                                                       (before deductions and                               (before deductions
                                                                                       exclusions)                                          and exclusions)

                                                               SSI                          $7,508.00
          From January 1 of current year until
          the date you filed for bankruptcy:        Gross Pension Income                    $5,200.00


                                                               SSI                          $22,524.00
          For last calendar year:
          (January 1 to December 31, 2016 )         Gross Pension Income                    $15,600.00
                                      YYYY
                                                               SSI                          $22,524.00
          For the calendar year before that:
          (January 1 to December 31, 2015 )         Gross Pension Income                    $15,600.00
                                       YYYY




     Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 2
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Debtor 1 Gloria                               Dean                          Gibson                     Case number (if known)
           First Name                         Middle Name                   Last Name

Part 3:   List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual
                 primarily for a personal, family, or household purpose."
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                     No. Go to line 7.
                     Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                           total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                           child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
                 * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

          Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.
                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid
                           that creditor. Do not include payments for domestic support obligations, such as child support and
                           alimony. Also, do not include payments to an attorney for this bankruptcy case.

                                                             Dates of payment           Total amount paid            Amount you still owe     Was this payment
                                                                                                                                              for...
          Mattress Frm                                            03/01/2017                   $750.00                      $2753.00             Mortgage
          Creditor's Name                                                                                                                        Car
          CSCL DISPUTE TEAM PO BOX 14517
          Number Street                                                                                                                          Credit card
                                                                                                                                                 Loan repayment
          DES MOINES         Iowa            50306                                                                                               Suppliers or
          City                State        Zip Code                                                                                              vendors
                                                                                                                                                 Other

          Fidelity Bank                                           04/03/2017                   $1200.00                    $15541.00             Mortgage
          Creditor's Name                                                                                                                        Car
          3 CORPORATE SQ NE STE 11
          Number Street                                                                                                                          Credit card
                                                                                                                                                 Loan repayment
          ATLANTA            Georgia         30329                                                                                               Suppliers or
          City               State         Zip Code                                                                                              vendors
                                                                                                                                                 Other

          Creditor's Name                                                                                                                        Mortgage
                                                                                                                                                 Car
          Number Street
                                                                                                                                                 Credit card
                                                                                                                                                 Loan repayment
          City               State         Zip Code                                                                                              Suppliers or
                                                                                                                                                 vendors
                                                                                                                                                 Other




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Debtor 1 Gloria                             Dean                        Gibson                     Case number (if known)
           First Name                       Middle Name                 Last Name


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

           No
           Yes. List all payments to an insider.
                                                             Dates of            Total amount     Amount you          Reason for this payment
                                                             payment             paid             still owe


          Insider's Name

          Number Street


          City              State         Zip Code


          Insider's Name

          Number Street


          City              State         Zip Code

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

          No
          Yes. List all payments that benefited an insider.
                                                             Dates of            Total amount     Amount you          Reason for this payment
                                                             payment             paid             still owe
                                                                                                                      Include creditor's name


          Insider's Name

          Number Street



          City              State         Zip Code


          Insider's Name

          Number Street



          City              State         Zip Code




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Debtor 1 Gloria                             Dean                         Gibson                       Case number (if known)
          First Name                        Middle Name                  Last Name

Part 4:   Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
   contract disputes.

          No
          Yes. Fill in the details.
                                                            Nature of the case              Court or agency                              Status of the case
           Case title                                                                                                                         Pending
                                                                                            Court Name
                                                                                                                                              On appeal
           Case number
                                                                                            NumberStreet                                      Concluded

                                                                                            City            State        Zip Code
           Case title                                                                                                                         Pending
                                                                                            Court Name
                                                                                                                                              On appeal
           Case number
                                                                                            NumberStreet                                      Concluded

                                                                                            City            State        Zip Code

10.   Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
                                                                    Describe the property                                      Date             Value of the
                                                                                                                                                property


           Creditor's Name
                                                                    Explain what happened
           Number Street
                                                                        Property was repossessed.
                                                                        Property was foreclosed.
                                                                        Property was garnished.
           City                  State           Zip Code
                                                                        Property was attached, seized, or levied.
                                                                    Describe the property                                      Date             Value of the
                                                                                                                                                property


           Creditor's Name
                                                                    Explain what happened
           Number Street
                                                                        Property was repossessed.
                                                                        Property was foreclosed.
                                                                        Property was garnished.
           City                  State           Zip Code
                                                                        Property was attached, seized, or levied.




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Debtor 1 Gloria                             Dean                      Gibson                     Case number (if known)
          First Name                        Middle Name               Last Name


11.   Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?

          No
          Yes. Fill in the details.
                                                                 Describe the action the creditor took                    Date action     Amount
                                                                                                                          was taken


          Creditor's Name

          Number Street
                                                                 Last 4 digits of account number: XXXX-


          City                 State           Zip Code

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
    appointed receiver, a custodian, or another official?

          No
          Yes

Part 5:   List Certain Gifts and Contributions

13.   Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.
          Gifts with a total value of more than $600              Describe the gifts                                      Dates you       Value
          per person                                                                                                      gave the
                                                                                                                          gifts


          Person to Whom You Gave the Gift



          Number Street

          City                 State           Zip Code
          Person's relationship to you



          Person to Whom You Gave the Gift



          Number Street

          City                 State           Zip Code
          Person's relationship to you




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Debtor 1 Gloria                            Dean                          Gibson                     Case number (if known)
          First Name                       Middle Name                   Last Name


14.   Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
          No
          Yes. Fill in the details for each gift or contribution.
          Gifts or contributions to charities                       Describe what you contributed                            Date you         Value
          that total more than $600                                                                                          contributed


          Charity's Name


          Number Street

          City                  State          Zip Code

Part 6:   List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
    gambling?
          No
          Yes. Fill in the details.
          Describe the property you lost and                        Describe any insurance coverage for the loss             Date of your     Value of property
          how the loss occurred                                     Include the amount that insurance has paid. List         loss             lost
                                                                    pending insurance claims on line 33 of Schedule
                                                                    A/B: Property.


Part 7:   List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
    about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
          No
          Yes. Fill in the details.
                                                                    Description and value of any property                    Date payment      Amount of
                                                                    transferred                                              or transfer       payment
                                                                                                                             was made
          CC Advising Inc.                                          credit counseling - 9.76                                 04/26/2017        $9.76
          Person Who Was Paid
          703 Washington Ave.
          Number Street


          Bay City              Michigan        48708
          City                  State          Zip Code

          Email or website address

          Person Who Made the Payment, if Not You
          Northern District Bankruptcy Court                        filing fee - 310.00                                      04/26/2017        $310.00
          Person Who Was Paid
          75 Ted Turner Drive SW
          Number Street


          Atlanta               Georgia         30303
          City                  State          Zip Code

          Email or website address

          Person Who Made the Payment, if Not You




   Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
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Debtor 1 Gloria                           Dean                       Gibson                       Case number (if known)
         First Name                       Middle Name                Last Name


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
    help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

          No
          Yes. Fill in the details.
                                                                Description and value of any property                      Date             Amount of payment
                                                                transferred                                                payment or
                                                                                                                           transfer was
                                                                                                                           made

          Person Who Was Paid

          Number Street



          City                  State        Zip Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in
    the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include gifts
    and transfers that you have already listed on this statement.

          No
          Yes. Fill in the details.
                                                                Description and value of any              Describe any property or                 Date
                                                                property transferred                      payments received or debts paid          transfer was
                                                                                                          in exchange                              made

          Person Who Received Transfer

          Number Street



          City                State          Zip Code
          Person's relationship to you


          Person Who Received Transfer

          Number Street



          City                State          Zip Code
          Person's relationship to you


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary?
    (These are often called asset-protection devices.)

          No
          Yes. Fill in the details.
                                                                 Description and value of the property transferred                                 Date
                                                                                                                                                   transfer was
                                                                                                                                                   made

          Name of trust




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Debtor 1 Gloria                            Dean                       Gibson                        Case number (if known)
          First Name                       Middle Name                Last Name

Part 8:   List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
    cooperatives, associations, and other financial institutions.

          No
          Yes. Fill in the details.
                                                              Last 4 digits of account        Type of account or                 Date             Last balance
                                                              number                          instrument                         account was      before
                                                                                                                                 closed, sold,    closing or
                                                                                                                                 moved, or        transfer
                                                                                                                                 transferred
          Fidelity Bank                                       XXXX-1234                              Checking                    01/01/2016           $ 2.00
          Person Who Was Paid
          3 Corp.O.Rate Sq Ne Ste 11                                                                 Savings
          Number Street                                                                              Money market
                                                                                                     Brokerage
          Atlanta             Georgia        30329                                                   Other
          City                State         Zip Code
                                                              XXXX-                                  Checking
          Person Who Was Paid
                                                                                                     Savings
          Number Street                                                                              Money market
                                                                                                     Brokerage
                                                                                                     Other
          City                State         Zip Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or
    other valuables?

          No
          Yes. Fill in the details.
                                                           Who else had access to it?                        Describe the contents                 Do you still
                                                                                                                                                   have it?

           Name of Financial Institution                   Name                                                                                        No
                                                                                                                                                       Yes
           Number Street                                   Number      Street

                                                           City                State     Zip Code

           City               State        Zip Code

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

          No
          Yes. Fill in the details.
                                                           Who else had access to it?                        Describe the contents                 Do you still
                                                                                                                                                   have it?

           Name of Storage Facility                        Name                                                                                        No
                                                                                                                                                       Yes
           Number Street                                   Number     Street

                                                           City                State     Zip Code

           City               State        Zip Code




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Debtor 1 Gloria                              Dean                       Gibson                         Case number (if known)
            First Name                       Middle Name                Last Name

Part 9:    Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for
    someone.

            No
            Yes. Fill in the details.
                                                               Where is the property?                          Describe the contents               Value

            Owner's Name                                       NumberStreet

            Number Street

                                                               City              State      Zip Code

            City                State        Zip Code

Part 10:    Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:
          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
          hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
          including statutes or regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it
          or used to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance,
          toxic substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
                                                               Governmental unit                               Environmental law, if you know it   Date of
                                                                                                                                                   notice

            Name of site                                       Governmental unit

            Number Street                                      NumberStreet

                                                               City              State      Zip Code

            City               State        Zip Code

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
                                                               Governmental unit                               Environmental law, if you know it   Date of
                                                                                                                                                   notice

            Name of site                                       Governmental unit

            Number Street                                      NumberStreet

                                                               City              State      Zip Code

            City               State        Zip Code




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Debtor 1 Gloria                               Dean                       Gibson                       Case number (if known)
           First Name                         Middle Name                Last Name


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
                                                               Court or agency                               Nature of the case                     Status of the
                                                                                                                                                    case
           Case title
                                                                                                                                                        Pending
                                                               Court Name
                                                                                                                                                        On appeal
           Case number                                         NumberStreet
                                                                                                                                                        Concluded
                                                               City            State       Zip Code

Part 11:   Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                   A member of a limited liability company (LLC) or limited liability partnership (LLP)
                   A partner in a partnership
                   An officer, director, or managing executive of a corporation
                   An owner of at least 5% of the voting or equity securities of a corporation
           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
                                                                      Describe the nature of the business               Employer Identification number Do not
                                                                                                                        include Social Security number or ITIN.
                                                                                                                        EIN:
            Business Name

            Number Street                                                                                               Dates business existed
                                                                      Name of accountant or bookkeeper
            City                  State           Zip Code                                                              From            To




                                                                      Describe the nature of the business               Employer Identification number Do not
                                                                                                                        include Social Security number or ITIN.
                                                                                                                        EIN:
            Business Name

            Number Street                                                                                               Dates business existed
                                                                      Name of accountant or bookkeeper
            City                  State           Zip Code                                                              From            To




                                                                      Describe the nature of the business               Employer Identification number Do not
                                                                                                                        include Social Security number or ITIN.
                                                                                                                        EIN:
            Business Name

            Number Street                                                                                               Dates business existed
                                                                      Name of accountant or bookkeeper
            City                  State           Zip Code                                                              From            To




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Debtor 1 Gloria                               Dean                     Gibson                     Case number (if known)
            First Name                        Middle Name              Last Name


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
    creditors, or other parties.

            No
            Yes. Fill in the details below.
                                                                     Date issued

             Name                                                    MM/DD/YYYY


             Number Street

             City                 State              Zip Code

Part 12:    Sign Below
   I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
   true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with
   a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                    û       /s/ Gloria Gibson
                         Signature of Debtor 1
                                                                                            û    Signature of Debtor 2
                                                                                                 Date
                         Date 4/28/2017

   Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
        No
        Yes

   Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
        No
           Yes. Name of person                                                                     Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                   Declaration, and Signature (Official Form 119).




   Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 12
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 Fill in this information to identify your case:
 Debtor 1              Gloria                             Dean                      Gibson
                       First Name                         Middle Name               Last Name
 Debtor 2
 (Spouse, if filing)   First Name                         Middle Name               Last Name
 United States Bankruptcy Court for the:         Northern                     District of Georgia
                                                                                          (State)
 Case number
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106A/B                                                                                                                             amended filing

Schedule A/B: Property                                                                                                                                                 12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.
 Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2
                Yes. Where is the property?
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.1                                                                 Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                3848 Nowlin Road                                        Duplex or multi-unit building
                Number        Street                                    Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home                  $138400.00               $69200.00
                Kennesaw         Georgia          30144                 Land
                City             State            Zip Code              Investment property                          Describe the nature of your ownership
                                                                                                                     interest (such as fee simple, tenancy by
                Cobb                                                    Timeshare                                    the entireties, or a life estate), if known.
                County                                                  Other
                                                                                                                         Check if this is community property
                                                                     Who has an interest in the property? Check          (see instructions)
                                                                     one.
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification
                                                                     number:
      If you own or have more than one, list here:
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.2                                                                 Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
                                                                        Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
                Number         Street                                                                                Describe the nature of your ownership
                                                                        Investment property
                                                                                                                     interest (such as fee simple, tenancy by
                                                                        Timeshare                                    the entireties, or a life estate), if known.
                City                State           Zip Code            Other
                                                                                                                         Check if this is community property
                                                                     Who has an interest in the property? Check          (see instructions)
                                                                     one.
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:


   Official Form 106A/B                                                       Schedule A/B: Property                                                     page 1
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 Debtor 1 Gloria                                  Dean                           Gibson                            Case number (if known)
              First Name                          Middle Name                    Last Name
                                                                 What is the property? Check all that apply.                       Do not deduct secured claims or exemptions. Put
 1.3                                                                  Single-family home                                           the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                          Creditors Who Have Claims Secured by Property.
                                                                      Duplex or multi-unit building
                                                                      Condominium or cooperative                                   Current value of the     Current value of the
                                                                                                                                   entire property?         portion you own?
                                                                      Manufactured or mobile home
                                                                      Land
       Number              Street                                                                                                  Describe the nature of your ownership
                                                                      Investment property
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                      Timeshare                                                    the entireties, or a life estate), if known.
       City                     State         Zip Code                Other

                                                                                                                                        Check if this is community property
                                                                 Who has an interest in the property? Check one.                        (see instructions)
                                                                      Debtor 1 only
                                                                      Debtor 2 only
                                                                      Debtor 1 and Debtor 2 only
                                                                      At least one of the debtors and another
                                                                                   Other information you wish to add about this item, such as local
                                                                                   property identification number:
   2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                       $69200.00
   you have attached for Part 1. Write that number here.
   ...................................................................................................


Part 2:       Describe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
        No
        Yes
       3.1 Make                              Hyundai                   Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                             Elantra                  one.                                                         the amount of any secured claims on Schedule D:
           Year:                             2014                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Approximate mileage:              30000
                                                                           Debtor 2 only                                            Current value of the    Current value of the
              Other information:                                           Debtor 1 and Debtor 2 only                               entire property?        portion you own?
                                                                                                                                    $12800.00               $12800.00
                                                                           At least one of the debtors and another
                                                                          Check if this is community property (see
                                                                          instructions)
       3.2 Make                                                        Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                                                      one.                                                         the amount of any secured claims on Schedule D:
           Year:                                                          Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                            Debtor 2 only                                            Current value of the    Current value of the
              Other information:                                           Debtor 1 and Debtor 2 only                               entire property?        portion you own?
                                                                           At least one of the debtors and another
                                                                           Check if this is community property (see
                                                                           instructions)




  Official Form 106A/B                                                            Schedule A/B: Property                                                                page 2
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Debtor 1 Gloria                                      Dean                             Gibson                            Case number (if known)
             First Name                              Middle Name                      Last Name
       3.3 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
       3.4 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
4      Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
            No
            Yes
       4.1 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
       4.2 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                               $12800.00
    you have attached for Part 2. Write that number here ...................................................................................................




    Official Form 106A/B                                                              Schedule A/B: Property                                                                page 3
                    Case 17-57632-lrc                           Doc 1            Filed 04/28/17 Entered 04/28/17 15:04:17                                                   Desc Main
                                                                                 Document      Page 23 of 76
Debtor 1 Gloria                                        Dean                                Gibson                               Case number (if known)
            First Name                                 Middle Name                         Last Name

Part 3:    Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                portion you own?
                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                 or exemptions.
 6. Household goods and furnishings
  Examples: Major appliances, furniture, linens, china, kitchenware
   No
   Yes. Describe...           All Home Furnishings                                                                                                                $1000.00

 7. Electronics
  Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
   No
   Yes. Describe...           Electronics                                                                                                                         $300.00

 8. Collectibles of value
  Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   No
   Yes. Describe...

 9. Equipment for sports and hobbies
  Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
            and kayaks; carpentry tools; musical instruments
   No
   Yes. Describe...

 10. Firearms
  Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   No
   Yes. Describe...

 11. Clothes
  Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   No
   Yes. Describe...           Clothes                                                                                                                             $100.00

 12. Jewelry
  Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
            gold, silver
   No
   Yes. Describe...

 13. Non-farm animals
  Examples: Dogs, cats, birds, horses
   No
   Yes. Describe...

 14. Any other personal and household items you did not already list, including any health aids you did not list
   No
   Yes. Describe...

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                   $1900.00
 for Part 3. Write that number here ..........................................................................................................................




 Official Form 106A/B                                                                      Schedule A/B: Property                                                                      page 4
                   Case 17-57632-lrc                               Doc 1              Filed 04/28/17 Entered 04/28/17 15:04:17                                         Desc Main
                                                                                      Document      Page 24 of 76
Debtor 1 Gloria                                          Dean                                    Gibson                    Case number (if known)
          First Name                                     Middle Name                             Last Name

Part 4:   Describe Your Financial Assets
                                                                                                                                                                    Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                                         portion you own?
                                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                                    or exemptions.
16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
          No
          Yes ....................................................................................................                                                  $10.00
                                                                                                                          Cash: .................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
       and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
                                                                                         Institution name:
          Yes

                                        17.1. Checking account:                          Chase Bank                                                                 $1000.00
                                        17.2. Checking account:                          Members First                                                              $175.00
                                        17.3. Savings account:
                                        17.4. Savings account:
                                        17.5. Certificates of deposit:
                                        17.6. Other financial account:
                                        17.7. Other financial account:
                                        17.8. Other financial account:
                                        17.9. Other financial account:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
          No
                                        Institution or issuer name:
          Yes




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
          No
                                        Name of entity                                                                    % of ownership:
          Yes. Give specific
          information about
          them




 Official Form 106A/B                                                                            Schedule A/B: Property                                                             page 5
                    Case 17-57632-lrc                Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                        Desc Main
                                                                  Document      Page 25 of 76
Debtor 1 Gloria                               Dean                     Gibson                      Case number (if known)
         First Name                           Middle Name              Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
          No
          Yes. Give specific
          information about    Issuer name:
          them.....




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
          No
                               Type of account:                    Institution name:
          Yes. List each
          account              401(k) or similar plan:
          separately.
                               Pension plan:
                               IRA:
                               Retirement account:
                               Keogh:
                               Additional account:

                               Additional account:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
        No                                                    Institution name:
          Yes....              Electric:
                               Gas:
                               Heating oil:
                               Security deposit on rental unit:
                               Prepaid rent:
                               Telephone:
                               Water:
                               Rented furniture:
                               Other:
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
          No
                               Issuer name and description:
          Yes....




 Official Form 106A/B                                                   Schedule A/B: Property                                           page 6
                  Case 17-57632-lrc                Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                                  Desc Main
                                                                Document      Page 26 of 76
Debtor 1 Gloria                             Dean                       Gibson                        Case number (if known)
         First Name                         Middle Name                Last Name
24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
          No
                      Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
          Yes....




25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit
          No
          Yes. Describe...


26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
          No
          Yes. Describe...


27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
          No
          Yes. Describe...



Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.
28. Tax refunds owed to you
         No
         Yes. Give specific information                                                                           Federal:               $0.00
              about them, including whether
              you already filed the returns                                                                       State:                 $0.00
              and the tax years..............
                                                                                                                  Local:                 $0.00
29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
         No
                                                                                                                  Alimony:               $0.00
         Yes. Give specific information......
                                                                                                                  Maintenance:           $0.00

                                                                                                                  Support:               $0.00

                                                                                                                  Divorce settlement:    $0.00

                                                                                                                  Property settlement:   $0.00
30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
         No
         Yes. Describe...




 Official Form 106A/B                                                   Schedule A/B: Property                                                        page 7
                    Case 17-57632-lrc                          Doc 1           Filed 04/28/17 Entered 04/28/17 15:04:17                                        Desc Main
                                                                               Document      Page 27 of 76
Debtor 1 Gloria                                       Dean                              Gibson                               Case number (if known)
            First Name                                Middle Name                       Last Name
31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
                                                                      Company name:                                                        Beneficiary:           Surrender or refund value:
            Yes. Name the insurance company
            of each policy and list its value.....                    term life insurance only                                              no cash values        $0.00




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
            No
            Yes. Describe...


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe...


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
            No
            Yes. Describe...


35. Any financial assets you did not already list
            No
            Yes. Describe...



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                       $1185.00
    for Part 4. Write that number here ................................................................................................................



Part 5:     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?
            No. Go to Part 6.                                                                                                                                Current value of the
                                                                                                                                                             portion you own?
            Yes. Go to line 38.                                                                                                                              Do not deduct secured claims
                                                                                                                                                             or exemptions
38. Accounts receivable or commissions you already earned
            No
            Yes. Describe...


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
            No
            Yes. Describe...




 Official Form 106A/B                                                                    Schedule A/B: Property                                                             page 8
                       Case 17-57632-lrc                           Doc 1             Filed 04/28/17 Entered 04/28/17 15:04:17                                                         Desc Main
                                                                                     Document      Page 28 of 76
 Debtor 1 Gloria                                          Dean                                Gibson                                Case number (if known)
              First Name                                  Middle Name                         Last Name
 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
              No
              Yes. Describe...


 41. Inventory
              No
              Yes. Describe...


 42. Interests in partnerships or joint ventures
              No
                                                                           Name of entity:                                                         % of ownership:
              Yes. Give specific
              information about
              them



 43. Customer lists, mailing lists, or other compilations
              No
              Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                           No
                           Yes. Describe........

 44. Any business-related property you did not already list
              No
              Yes. Give specific
              information .......




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here ...............................................................................................................................................

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.

 46.     Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
               Yes. Go to line 47.                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                     or exemptions
 47.     Farm animals
         Examples: Livestock, poultry, farm-raised fish
               No
               Yes. Describe...




   Official Form 106A/B                                                                        Schedule A/B: Property                                                                              page 9
                      Case 17-57632-lrc                            Doc 1             Filed 04/28/17 Entered 04/28/17 15:04:17                                                        Desc Main
                                                                                     Document      Page 29 of 76
 Debtor 1 Gloria                                          Dean                                Gibson                                 Case number (if known)
              First Name                                  Middle Name                         Last Name
 48.     Crops-either growing or harvested
               No
               Yes. Describe...


 49.     Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
               No
               Yes. Describe...


 50.     Farm and fishing supplies, chemicals, and feed
               No
               Yes. Describe...


 51.     Any farm- and commercial fishing-related property you did not already list
               No
               Yes. Describe...



52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................




 Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above
 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
              No
              Yes. Give specific
              information




54. Add the dollar value of all of your entries from Part 7. Write that number here ...........................................................................




 Part 8:      List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ...........................................................................................................................................       $69200.00


 56. part 2 total vehicles, line 5                                                                 $12800.00
 57.Part 3: Total personal and household items, line 15                                            $1900.00
 58.Part 4: Total financial assets, line 36                                                        $1185.00
 59. Part 5: Total business-related property, line 45
 60. Part 6: Total farm- and fishing-related property, line 52
 61. Part 7: Total other property not listed, line 54
 62. Total personal property. Add lines 56 through 61. ....................
                                                                                                   $15885.00                                                                             + $15885.00
                                                                                                                                            Copy personal property total

                                                                                                                                                                                         $85085.00
 63.Total of all property on Schedule A/B. Add line 55 + line 62..........................................................................................


   Official Form 106A/B                                                                        Schedule A/B: Property                                                                        page 10
                  Case 17-57632-lrc            Doc 1   Filed 04/28/17 Entered 04/28/17 15:04:17                         Desc Main
                                                       Document      Page 30 of 76
Debtor 1 Gloria                         Dean               Gibson                   Case number (if known)
          First Name                    Middle Name        Last Name

Schedule A/B: Property. Additional page
Part 3:   Describe Your Personal and Household Items
                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following items?                            portion you own?
                                                                                                             Do not deduct secured claims
                                                                                                             or exemptions.
 6.2. Household goods and furnishings
   No
   Yes. Describe...     mattress                                                                              $500.00




 Official Form 106A/B                                      Schedule A/B: Property                                                  page 11
                       Case 17-57632-lrc              Doc 1          Filed 04/28/17 Entered 04/28/17 15:04:17                           Desc Main
                                                                     Document      Page 31 of 76
Fill in this information to identify your case:
Debtor 1                Gloria                        Dean                      Gibson
                        First Name                    Middle Name               Last Name
Debtor 2
(Spouse, if filing)     First Name                    Middle Name               Last Name
United States Bankruptcy Court for the:       Northern                     District of Georgia
                                                                                       (State)
Case number
(If known)
                                                                                                                                                   Check if this is an
Official Form 106C                                                                                                                                 amended filing


Schedule C: The Property You Claim as Exempt                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim
as exempt. If more space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any
additional pages, write your name and case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to
state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to
the amount of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and
tax-exempt retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value
under a law that limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount,
your exemption would be limited to the applicable statutory amount.

Part 1:       Identify the Property You Claim as Exempt
 1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
              You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
              You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief description of the property and         Current value of        Amount of the exemption you claim               Specific laws that allow exemption
        line on Schedule A/B that lists this          the portion you
        property                                      own                     Check only one box for each exemption.

                                                      Copy the value from
                                                      Schedule A/B

        Brief                                                                                                                      O.C.G.A. § 44-13-100(a)(6)
        description:                                        $10.00
              Cash on hand                                                                            $10.00
        Line from                                                                 100% of fair market value, up to any
        Schedule A/B:      16                                                     applicable statutory limit
        Brief                                                                                                                      O.C.G.A. § 44-13-100(a)(6)
        description:                                      $1,000.00
              Checking account,                                                                     $1,000.00
              Chase Bank                                                          100% of fair market value, up to any
        Line from                                                                 applicable statutory limit
        Schedule A/B:       17

 3.     Are you claiming a homestead exemption of more than $160,375?
        (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                      No
                      Yes




      Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                           page 1
                  Case 17-57632-lrc           Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                             Desc Main
                                                           Document      Page 32 of 76
Debtor 1 Gloria                        Dean                      Gibson                      Case number (if known)
          First Name                   Middle Name               Last Name

Part 2:   Additional Page

    Brief description of the property and     Current value of      Amount of the exemption you claim                 Specific laws that allow exemption
    line on Schedule A/B that lists this      the portion you
    property                                  own                   Check only one box for each exemption.

                                              Copy the value from
                                              Schedule A/B

    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(6)
    description:                                     $175.00
          Checking account,                                                               $175.00
          Members First                                                   100% of fair market value, up to any
    Line from                                                             applicable statutory limit
    Schedule A/B:       17
    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(4)
    description:                                 $1,000.00
          All Home Furnishings                                                           $1,000.00
    Line from                                                             100% of fair market value, up to any
    Schedule A/B:        06                                               applicable statutory limit
    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(4)
    description:                                     $100.00
          Clothes                                                                         $100.00
    Line from                                                             100% of fair market value, up to any
    Schedule A/B:       11                                                applicable statutory limit
    Brief                                                                                                                  O.C.G.A. § 44-13-100(a)(4)
    description:                                     $300.00
          Electronics                                                                     $300.00
    Line from                                                             100% of fair market value, up to any
    Schedule A/B:       07                                                applicable statutory limit




  Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                         page 2
                          Case 17-57632-lrc                Doc 1         Filed 04/28/17 Entered 04/28/17 15:04:17                               Desc Main
                                                                         Document      Page 33 of 76
 Fill in this information to identify your case:
 Debtor 1                 Gloria                           Dean                        Gibson
                          First Name                       Middle Name                 Last Name
 Debtor 2
 (Spouse, if filing)      First Name                       Middle Name                 Last Name
 United States Bankruptcy Court for the:            Northern                     District of Georgia
                                                                                             (State)
 Case number
 (If known)
                                                                                                                                                           Check if this is an
Official Form 106D                                                                                                                                         amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
 1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:       List All Secured Claims
 2.       List all secured claims. If a creditor has more than one secured claim, list the creditor                 Column A               Column B             Column C
          separately for each claim. If more than one creditor has a particular claim, list the other creditors     Amount of claim        Value of             Unsecured
          in Part 2. As much as possible, list the claims in alphabetical order according to the creditor's         Do not deduct the      collateral           portion
          name.                                                                                                     value of collateral.   that supports        If any
                                                                                                                                           this claim
  2.1     Pennymac Loan Services                     Describe the property that secures the claim:                    $153,609.00            $138,400.00        $15,209.00
          Creditor's Name
           6101 Condor Drive                         360 Mortgage
                 Number                Street        As of the date you file, the claim is: Check all that apply.
                                                         Contingent
          Simi Valley              CA       93065        Unliquidated
          City                     State ZIP Code
                                                         Disputed
          Who owes the debt? Check one.
             Debtor 1 only                           Nature of lien. Check all that apply.
                  Debtor 2 only                          An agreement you made (such as mortgage or secured
                                                         car loan)
                  Debtor 1 and Debtor 2 only
                                                         Statutory lien (such as tax lien, mechanic's lien)
              At least one of the debtors
              and another                                Judgment lien from a lawsuit
              Check if this claim relates                Other (including a right to offset)
              to a community debt
          Date debt was                              Last 4 digits of account number               3969
          incurred
  2.2     Fidelity Bank                              Describe the property that secures the claim:                     $15,541.00            $12,800.00         $2,741.00
          Creditor's Name
           3 CORPORATE SQ NE STE 11                  2014 Hyundai Elantra
                 Number                Street        As of the date you file, the claim is: Check all that apply.
                                                         Contingent
          ATLANTA                  GA       30329        Unliquidated
          City                     State ZIP Code
                                                         Disputed
          Who owes the debt? Check one.
             Debtor 1 only                           Nature of lien. Check all that apply.
                  Debtor 2 only                          An agreement you made (such as mortgage or secured
                                                         car loan)
                  Debtor 1 and Debtor 2 only
                                                         Statutory lien (such as tax lien, mechanic's lien)
              At least one of the debtors
              and another                                Judgment lien from a lawsuit
              Check if this claim relates                Other (including a right to offset)
              to a community debt
          Date debt was                              Last 4 digits of account number               8338
          incurred
                       Add the dollar value of your entries in Column A on this page. Write that number               $169,150.00
                       here:




      Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                        page 1
                      Case 17-57632-lrc               Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                            Desc Main
                                                                   Document      Page 34 of 76
Debtor 1 Gloria                                Dean                        Gibson                      Case number (if known)
             First Name                        Middle Name                 Last Name
                 Additional Page
                                                                                                     Column A                     Column B          Column C
  Part:1
                 After listing any entries on this page, number them beginning with 2.3, followed by
                 2.4, and so forth.                                                                  Amount of claim              Value of          Unsecured
                                                                                                     Do not deduct the            collateral        portion
                                                                                                     value of collateral.         that supports     If any
                                                                                                                                  this claim

2.3   Mattress Frm                                Describe the property that secures the claim:                      $2,753.00          $500.00      $2,253.00
      Creditor's Name
      CSCL DISPUTE TEAM PO BOX                    mattress
      14517                                       As of the date you file, the claim is: Check all that apply.
             Number           Street                  Contingent
                                                      Unliquidated
      DES MOINES              IA       50306
      City                    State ZIP Code
                                                      Disputed
      Who owes the debt? Check one.               Nature of lien. Check all that apply.
         Debtor 1 only
                                                      An agreement you made (such as mortgage or secured
              Debtor 2 only                           car loan)
              Debtor 1 and Debtor 2 only              Statutory lien (such as tax lien, mechanic's lien)
          At least one of the debtors and             Judgment lien from a lawsuit
          another
                                                      Other (including a right to offset)
          Check if this claim relates to
          a community debt                        Last 4 digits of account number             3239
      Date debt was
      incurred
                   Add the dollar value of your entries in Column A on this page. Write that number                  $2,753.00
                   here:
                   If this is the last page of your form, add the dollar value totals from all pages.               $171,903.00
                   Write that number here:




  Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                   page 2
                       Case 17-57632-lrc               Doc 1       Filed 04/28/17 Entered 04/28/17 15:04:17                                   Desc Main
                                                                   Document      Page 35 of 76
 Fill in this information to identify your case:
 Debtor 1              Gloria                          Dean                    Gibson
                       First Name                      Middle Name             Last Name
 Debtor 2
 (Spouse, if filing)   First Name                      Middle Name             Last Name
 United States Bankruptcy Court for the:       Northern                  District of Georgia
                                                                                     (State)
 Case number
 (If known)
                                                                                                                                           Check if this is an amended filing
Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number
the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case number (if
known).
 Part 1:       List All of Your PRIORITY Unsecured Claims
 1.     Do any creditors have priority unsecured claims against you?
               No. Go to Part 2.
               Yes.
 2.  List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim
     listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts.
     As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the
     Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                     Total         Priority      Nonpriority
                                                                                                                                     claim         amount        amount
  2.1 Georgia Department Of Revenue                                       Last 4 digits of account number                              $0.00         $0.00         $0.00
        Priority Creditor's Name
        1800 Century Blvd Suite 17200                                     When was the debt incurred?                n/a
        Number              Street
                                                                          As of the date you file, the claim is: Check all that
                                                                          apply.
                                                                               Contingent
        Atlanta                    Georgia            30345
        City                       State              Zip Code                 Unliquidated
        Who incurred the debt? Check one.                                      Disputed
             Debtor 1 only
                                                                          Type of PRIORITY unsecured claim:
             Debtor 2 only
                                                                               Domestic support obligations
             Debtor 1 and Debtor 2 only
                                                                               Taxes and certain other debts you owe the
             At least one of the debtors and another                           government
             Check if this claim relates to a community debt                   Claims for death or personal injury while you were
                                                                               intoxicated
        Is the claim subject to offset?                                       Other. Specify
             No
                 Yes
  2.2     Internal Revenue Service                                    Last 4 digits of account number                               $5,400.00    $5,400.00       $0.00
          Priority Creditor's Name
          P.O. Box 7346                                               When was the debt incurred?           12/31/2016
          Number              Street
                                                                      As of the date you file, the claim is: Check all that
                                                                      apply.
                                                                          Contingent
          Philadelphia        Pennsylvania           19101
          City                State                  Zip Code              Unliquidated
          Who incurred the debt? Check one.                                Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                           Domestic support obligations
                 Debtor 1 and Debtor 2 only
                                                                          Taxes and certain other debts you owe the
                 At least one of the debtors and another                  government
                 Check if this claim relates to a community debt          Claims for death or personal injury while you were
                                                                          intoxicated
          Is the claim subject to offset?                                 Other. Specify
               No
                 Yes
   Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1
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Debtor 1 Gloria                             Dean                        Gibson                          Case number (if known)
          First Name                        Middle Name                 Last Name

Part 2:   List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?
          No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes.
4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one priority
   unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1.
   If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims fill out the Continuation
   Page of Part 2.
                                                                                                                                                         Total claim
4.1 1St Franklin                                                                    Last 4 digits of account number          9200                             $0.00
      Nonpriority Creditor's Name
      P.O. Box 999                                                                  When was the debt incurred?             9/2015
      Number                Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                         Contingent
                                                                                        Unliquidated
       Mcdonough               Georgia                      30253
       City                    State                        Zip Code                    Disputed
       Who incurred the debt? Check one.
            Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
                                                                                        Student loans
           Debtor 2 only
                                                                                        Obligations arising out of a separation agreement or
           Debtor 1 and Debtor 2 only                                                   divorce that you did not report as priority claims
           At least one of the debtors and another                                      Debts to pension or profit-sharing plans, and other similar
                                                                                        debts
           Check if this claim relates to a community debt                              Other. Specify        15 InstallmentLoan
       Is the claim subject to offset?
            No
           Yes
4.2    BBY/CBNA                                                                     Last 4 digits of account number          3468                         $2,411.00
       Nonpriority Creditor's Name
       PO BOX 6497                                                                  When was the debt incurred?             4/2014
       Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
       SIOUX FALLS             South Dakota                 57117
                                                                                        Unliquidated
       City                    State                        Zip Code
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                        Student loans
           Debtor 1 and Debtor 2 only                                                   Obligations arising out of a separation agreement or
           At least one of the debtors and another                                      divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
           Check if this claim relates to a community debt                              debts
       Is the claim subject to offset?                                                  Other. Specify              CreditCard
            No
           Yes
4.3    COMENITY CAPITAL/HSN                                                         Last 4 digits of account number                                        $926.00
       Nonpriority Creditor's Name
       995 W 122ND AVE                                                              When was the debt incurred?             5/2011
       Number        Street
                                                                                    As of the date you file, the claim is: Check all that apply.
                                                                                        Contingent
       WESTMINSTER             Colorado                     80234
                                                                                        Unliquidated
       City                    State                        Zip Code
       Who incurred the debt? Check one.                                                Disputed
            Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                        Student loans
           Debtor 1 and Debtor 2 only                                                   Obligations arising out of a separation agreement or
           At least one of the debtors and another                                      divorce that you did not report as priority claims
                                                                                        Debts to pension or profit-sharing plans, and other similar
           Check if this claim relates to a community debt                              debts
       Is the claim subject to offset?                                                  Other. Specify              CreditCard
            No
           Yes

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Debtor 1 Gloria                           Dean                       Gibson                          Case number (if known)
          First Name                      Middle Name                Last Name

Part 2:   Your NONPRIORITY Unsecured Claims - Continuation Page
      After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim
4.4   CREDIT FIRST N A                                                           Last 4 digits of account number                                      $1,034.00
      Nonpriority Creditor's Name
      6275 EASTLAND RD                                                           When was the debt incurred?            12/2011
      Number        Street
                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
      BROOK PARK              Ohio                        44142
                                                                                     Unliquidated
      City                    State                       Zip Code
      Who incurred the debt? Check one.                                              Disputed
           Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                     Student loans
           Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
           At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                     Debts to pension or profit-sharing plans, and other similar
           Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                Other. Specify              CreditCard
           No
           Yes
4.5   CREDIT ONE BANK NA                                                         Last 4 digits of account number                                      $874.00
      Nonpriority Creditor's Name
      PO BOX 98875                                                               When was the debt incurred?             7/2015
      Number        Street
                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
      LAS VEGAS               Nevada                      89193
                                                                                     Unliquidated
      City                    State                       Zip Code
      Who incurred the debt? Check one.                                              Disputed
           Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                     Student loans
           Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
           At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                     Debts to pension or profit-sharing plans, and other similar
           Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                Other. Specify              CreditCard
           No
           Yes
4.6   DEPT OF ED/NAVIENT                                                         Last 4 digits of account number          1103                        $2,599.00
      Nonpriority Creditor's Name
      PO BOX 9635                                                                When was the debt incurred?            11/2009
      Number        Street
                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
      WILKES BARRE            Pennsylvania                18773
                                                                                     Unliquidated
      City                    State                       Zip Code
      Who incurred the debt? Check one.                                              Disputed
           Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                     Student loans
           Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
           At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                     Debts to pension or profit-sharing plans, and other similar
           Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                Other. Specify
           No
           Yes




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Debtor 1 Gloria                           Dean                       Gibson                          Case number (if known)
          First Name                      Middle Name                Last Name

Part 2:   Your NONPRIORITY Unsecured Claims - Continuation Page
      After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim
4.7   DEPT OF ED/NAVIENT                                                         Last 4 digits of account number          1103                        $2,044.00
      Nonpriority Creditor's Name
      PO BOX 9635                                                                When was the debt incurred?            11/2009
      Number        Street
                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
      WILKES BARRE            Pennsylvania                18773
                                                                                     Unliquidated
      City                    State                       Zip Code
      Who incurred the debt? Check one.                                              Disputed
           Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                     Student loans
           Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
           At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                     Debts to pension or profit-sharing plans, and other similar
           Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                Other. Specify
           No
           Yes
4.8   DEPT OF ED/NAVIENT                                                         Last 4 digits of account number          1103                        $1,299.00
      Nonpriority Creditor's Name
      PO BOX 9635                                                                When was the debt incurred?            11/2009
      Number        Street
                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
      WILKES BARRE            Pennsylvania                18773
                                                                                     Unliquidated
      City                    State                       Zip Code
      Who incurred the debt? Check one.                                              Disputed
           Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                     Student loans
           Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
           At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                     Debts to pension or profit-sharing plans, and other similar
           Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                Other. Specify
           No
           Yes
4.9   Gm Financial                                                               Last 4 digits of account number          2210                       $27,263.00
      Nonpriority Creditor's Name
      801 CHERRY ST STE 3900                                                     When was the debt incurred?             5/2015
      Number        Street
                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
      FORT WORTH              Texas                       76102
                                                                                     Unliquidated
      City                    State                       Zip Code
      Who incurred the debt? Check one.                                              Disputed
           Debtor 1 only
                                                                                 Type of NONPRIORITY unsecured claim:
           Debtor 2 only
                                                                                     Student loans
           Debtor 1 and Debtor 2 only                                                Obligations arising out of a separation agreement or
           At least one of the debtors and another                                   divorce that you did not report as priority claims
                                                                                     Debts to pension or profit-sharing plans, and other similar
           Check if this claim relates to a community debt                           debts
      Is the claim subject to offset?                                                Other. Specify          073 Automobile
           No
           Yes




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Debtor 1 Gloria                             Dean                       Gibson                         Case number (if known)
           First Name                       Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim
4.10      Homeprjvisa                                                              Last 4 digits of account number             4856                     $4,964.00
          Nonpriority Creditor's Name
          CSCl Dispute Team P.O. Box 14517                                         When was the debt incurred?             7/2015
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          Des Moines              Iowa                      50306
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify              CreditCard
               No
              Yes
4.11      KOHLS/CAPONE                                                             Last 4 digits of account number                                      $778.00
          Nonpriority Creditor's Name
          N56 W 17000 RIDGEWOOD DR                                                 When was the debt incurred?            10/2013
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          MENOMONEE               Wisconsin                 53051
          FALLS                                                                        Unliquidated
          City                    State                     Zip Code                   Disputed
          Who incurred the debt? Check one.
               Debtor 1 only                                                       Type of NONPRIORITY unsecured claim:

              Debtor 2 only                                                            Student loans
                                                                                       Obligations arising out of a separation agreement or
              Debtor 1 and Debtor 2 only                                               divorce that you did not report as priority claims
              At least one of the debtors and another                                  Debts to pension or profit-sharing plans, and other similar
                                                                                       debts
              Check if this claim relates to a community debt                          Other. Specify              CreditCard
          Is the claim subject to offset?
               No
              Yes
4.12      Onemain                                                                  Last 4 digits of account number             7622                     $2,979.00
          Nonpriority Creditor's Name
          PO BOX 1010                                                              When was the debt incurred?             9/2015
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          EVANSVILLE              Indiana                   47706
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify        042 InstallmentLoan
               No
              Yes




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Debtor 1 Gloria                             Dean                       Gibson                         Case number (if known)
           First Name                       Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim
4.13      Preferred Credit Inc                                                     Last 4 digits of account number             4877                     $2,651.00
          Nonpriority Creditor's Name
          628 ROOSEVELT RD                                                         When was the debt incurred?             3/2016
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          SAINT CLOUD             Minnesota                 56301
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify        048 InstallmentLoan
               No
              Yes
4.14      Sears/Cbna                                                               Last 4 digits of account number             8194                     $1,710.00
          Nonpriority Creditor's Name
          Po Box 6282                                                              When was the debt incurred?             1/2015
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          Sioux Falls             South Dakota              57117
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify              CreditCard
               No
              Yes
4.15      SYNCB/AMAZON                                                             Last 4 digits of account number             7496                     $1,307.00
          Nonpriority Creditor's Name
          13354 Manchester Rd #101                                                 When was the debt incurred?             6/2015
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          Saint Louis             Missouri                  63131
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify              CreditCard
               No
              Yes




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Debtor 1 Gloria                             Dean                       Gibson                         Case number (if known)
           First Name                       Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim
4.16      SYNCB/CARE CREDIT                                                        Last 4 digits of account number                                      $2,661.00
          Nonpriority Creditor's Name
          950 FORRER BLVD                                                          When was the debt incurred?             8/2014
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          KETTERING               Ohio                      45420
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify              CreditCard
               No
              Yes
4.17      SYNCB/LOW                                                                Last 4 digits of account number             1939                     $732.00
          Nonpriority Creditor's Name
          PO BOX 956005                                                            When was the debt incurred?             2/2015
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          ORLANDO                 Florida                   32896
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify              CreditCard
               No
              Yes
4.18      SYNCB/SAMS CLUB                                                          Last 4 digits of account number                                      $1,054.00
          Nonpriority Creditor's Name
          PO BOX 981400                                                            When was the debt incurred?             2/2014
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          EL PASO                 Texas                     79998
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify              CreditCard
               No
              Yes




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Debtor 1 Gloria                             Dean                       Gibson                         Case number (if known)
           First Name                       Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim
4.19      THD/CBNA                                                                 Last 4 digits of account number             5229                     $463.00
          Nonpriority Creditor's Name
          2690 Cumberland Pkwy SE Ste 300                                          When was the debt incurred?             1/2015
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          Atlanta                 Georgia                   30339
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify              CreditCard
               No
              Yes
4.20      VERIZON WIRELESS                                                         Last 4 digits of account number                                      $2,842.00
          Nonpriority Creditor's Name
          PO BOX 49                                                                When was the debt incurred?            11/2012
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          LAKELAND                Florida                   33802
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify      001 UnknownLoanType
               No
              Yes
4.21      WFFNATBANK                                                               Last 4 digits of account number                                      $4,870.00
          Nonpriority Creditor's Name
          930 Juniper St NE                                                        When was the debt incurred?             7/2015
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          Atlanta                 Georgia                   30309
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify              CreditCard
               No
              Yes




 Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 8
                    Case 17-57632-lrc              Doc 1         Filed 04/28/17 Entered 04/28/17 15:04:17                                  Desc Main
                                                                 Document      Page 43 of 76
Debtor 1 Gloria                             Dean                       Gibson                         Case number (if known)
           First Name                       Middle Name                Last Name

Part 2:    Your NONPRIORITY Unsecured Claims - Continuation Page
          After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                     Total claim
4.22      WFFNATLBNK                                                               Last 4 digits of account number                                      $2,753.00
          Nonpriority Creditor's Name
          930 Juniper St NE                                                        When was the debt incurred?             2/2012
          Number        Street
                                                                                   As of the date you file, the claim is: Check all that apply.
                                                                                       Contingent
          Atlanta                 Georgia                   30309
                                                                                       Unliquidated
          City                    State                     Zip Code
          Who incurred the debt? Check one.                                            Disputed
               Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only                                               Obligations arising out of a separation agreement or
              At least one of the debtors and another                                  divorce that you did not report as priority claims
                                                                                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community debt                          debts
          Is the claim subject to offset?                                              Other. Specify              CreditCard
               No
              Yes




 Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                              page 9
                  Case 17-57632-lrc              Doc 1         Filed 04/28/17 Entered 04/28/17 15:04:17                        Desc Main
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Debtor 1 Gloria                           Dean                       Gibson                     Case number (if known)
          First Name                      Middle Name                Last Name

Part 4:   Add the Amounts for Each Type of Unsecured Claim
6.
     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
     Add the amounts for each type of unsecured claim.


                                                                                           Total claims

                                                                                                 $0.00
Total claims       6a. Domestic support obligations.                                 6a.
from Part 1
                                                                                              $5,400.00
                   6b. Taxes and certain other debts you owe the government          6b.

                   6c. Claims for death or personal injury while you were            6c.         $0.00
                       intoxicated
                                                                                                 $0.00
                   6d. Other. Add all other priority unsecured claims. Write that    6d.
                       amount here.
                                                                                               $5,400.00
                   6e. Total. Add lines 6a through 6d.                               6e.


                                                                                           Total claims

                                                                                              $5,942.00
Total claims       6f. Student loans                                                 6f.
from Part 2
                   6g. Obligations arising out of a separation agreement or          6g.         $0.00
                       divorce that you did not report as priority claims

                                                                                                 $0.00
                   6h. Debts to pension or profit-sharing plans, and other similar   6h.
                       debts

                                                                                              $62,272.00
                   6i. Other. Add all other nonpriority unsecured claims. Write      6i.
                       that amount here.

                   6j. Total. Add lines 6f through 6i.                               6j.      $68,214.00




 Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                   page 10
                       Case 17-57632-lrc                  Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                                        Desc Main
                                                                       Document      Page 45 of 76
 Fill in this information to identify your case:
 Debtor 1              Gloria                             Dean                       Gibson
                       First Name                         Middle Name                Last Name
 Debtor 2
 (Spouse, if filing)   First Name                         Middle Name                Last Name
 United States Bankruptcy Court for the:         Northern                      District of Georgia
                                                                                           (State)
 Case number
 (If known)
                                                                                                                                                             Check if this is an
Official Form 106G                                                                                                                                           amended filing


Schedule G: Executory Contracts and Unexpired Leases                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your
name and case number (if known).
 1. Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
      vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease                                               State what the contract or lease is for

2.1      Greg Chastain                                                                                            Residential Lease,
         Name                                                                                                     Other,
                                                                                                                  residential lease
         381 Kurtz Rd
         Number                     Street
         Marietta                            Georgia                  30066
         City                                State                    Zip Code




      Official Form 106G                                     Schedule G: Executory Contracts and Unexpired Leases                                             page 1
                         Case 17-57632-lrc               Doc 1           Filed 04/28/17 Entered 04/28/17 15:04:17                              Desc Main
                                                                         Document      Page 46 of 76
 Fill in this information to identify your case:
 Debtor 1                Gloria                          Dean                      Gibson
                         First Name                      Middle Name               Last Name
 Debtor 2
 (Spouse, if filing)     First Name                      Middle Name               Last Name
 United States Bankruptcy Court for the:          Northern                   District of Georgia
                                                                                         (State)
 Case number
 (If known)
                                                                                                                                                       Check if this is an
                                                                                                                                                       amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                         12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.       Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                   No
                   Yes
 2.       Within the last 8 years, have you lived in a community property state or territory? ( Community property states and territories include Arizona,
          California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                   No. Go to line 3.
                   Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                       No
                       Yes. In which community state or territory did you live?                      Fill in the name and current address of that person.

                         Name of your spouse, former spouse, or legal equivalent

                         Number       Street

                         City                                    State                       Zip Code

 3.       In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
          again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
          Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

           Column 1: Your codebtor                                                                        Column 2: The creditor to whom you owe the debt
                                                                                                          Check all schedules that apply:
 3.1      Kelly Gibson                                                                                            Schedule D, line
          Name
                                3848 Nowlin Rd.                                                                   Schedule E/F, line 4.1; 4.2;
          Number                Street                                                                                                 4.3; 4.4;
                                                                                                                                       4.5; 4.6;
          Kennesaw                                 Georgia                    30144
                                                                                                                                       4.7; 4.8;
          City                                     State                      Zip Code                                                 4.9; 4.10;
                                                                                                                                       4.11;
                                                                                                                                       4.12;
                                                                                                                                       4.13;
                                                                                                                                       4.14;
                                                                                                                                       4.15;
                                                                                                                                       4.16;
                                                                                                                                       4.17;
                                                                                                                                       4.18;
                                                                                                                                       4.19;
                                                                                                                                       4.20;
                                                                                                                                       4.21;
                                                                                                                                       4.22
                                                                                                                  Schedule G, line
 3.2      Kelly Gibson                                                                                            Schedule D, line 2.1; 2.2;
          Name                                                                                                                         2.3
                       3848 Nowlin Rd.
      Official
          Number
               Form 106H
                       Street                                              Schedule H: Your Codebtors             Schedule E/F, line                    page 1
          Kennesaw                                 Georgia                    30144                               Schedule G, line
          City                                     State                      Zip Code
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Fill in this information to identify your case:
Debtor 1              Gloria                    Dean                    Gibson
                      First Name                Middle Name             Last Name                          Check if this is:
Debtor 2
(Spouse, if filing)   First Name                Middle Name             Last Name                             An amended filing

United States Bankruptcy Court for      Northern                   District of Georgia                         A supplement showing post-petition chapter 13
the:                                                                                                           expenses as of the following date:
                                                                               (State)
Case number
(If known)                                                                                                     MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include
information about your spouse. If you are separated and your spouse is not filing with you, do not include information about your
spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1: Describe Employment

 1. Fill in your employment                                           Debtor 1                                    Debtor 2
    information.
                                        Employment status                Employed                                    Employed
     If you have more than one job,
     attach a separate page with                                         Not Employed                                Not Employed
     information about additional
     employers.                         Occupation                   Associate
     Include part time, seasonal, or    Employer's name              Wellstar Health System
     self-employed work.
                                        Employer's address           793 Sawyer Rd.
     Occupation may include student                                   Number Street                               Number Street
     or homemaker, if it applies.




                                                                     Marietta            Georgia   30062
                                                                     City                State     Zip Code       City                State   Zip Code

                                        How long employed
                                        there?

 Part 2: Give Details About Monthly Income

 Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
 spouse unless you are separated.
 If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
 more space, attach a separate sheet to this form.
                                                                                            For Debtor 1         For Debtor 2 or
                                                                                                                 non-filing spouse
   2. List monthly gross wages, salary, and commissions (before all payroll      2.                $4,700.00
      deductions.) If not paid monthly, calculate what the monthly wage would
      be.
   3. Estimate and list monthly overtime pay.                                    3.                  + $0.00
   4. Calculate gross income. Add line 2 + line 3.                               4.                $4,700.00




   Official Form 106I                                             Schedule I: Your Income                                                     page 1
                 Case 17-57632-lrc                Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                                Desc Main
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Debtor 1Gloria                             Dean                       Gibson                      Case number (if
         First Name                        Middle Name                Last Name                   known)
                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                   non-filing spouse
  Copy line 4 here                                                                4.              $4,700.00
5. List all payroll deductions:
   5a. Tax, Medicare, and Social Security deductions                              5a.             $1,600.00
   5b. Mandatory contributions for retirement plans                               5b.                  $0.00
   5c. Voluntary contributions for retirement plans                               5c.               $291.80
   5d. Required repayments of retirement fund loans                               5d.                  $0.00
   5e. Insurance                                                                  5e.               $470.29
   5f. Domestic support obligations                                               5f.                  $0.00
   5g. Union dues                                                                 5g.                  $0.00
   5h. Other deductions. Specify:                                                 5h. +             $105.08 +
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g          6.              $2,467.17
+5h.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.            7.              $2,232.83

8. List all other income regularly received:
   8a. Net income from rental property and from operating a
       business, profession, or farm
       Attach a statement for each property and business showing
       gross receipts, ordinary and necessary business expenses, and
       the total monthly net income.                                              8a.                  $0.00
   8b. Interest and dividends                                                     8b.                  $0.00
   8c. Family support payments that you, a non-filing spouse, or a
       dependent regularly receive
       Include alimony, spousal support, child support, maintenance,
       divorce settlement, and property settlement.                               8c.                  $0.00
   8d. Unemployment compensation                                                  8d.                  $0.00
   8e. Social Security                                                            8e.             $1,565.41
   8f. Other government assistance that you regularly receive
       Include cash assistance and the value (if known) of any non-
       cash assistance that you receive, such as food stamps (benefits
       under the Supplemental Nutrition Assistance Program) or
       housing subsidies
       Specify:
                                                                                  8f.                  $0.00
   8g. Pension or retirement income                                               8g.             $1,300.00
   8h. Other monthly income. Specify:                                             8h. +             $965.00 +
    Contribution from Grand - Daughter for mortgage
9. Add all other income Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.               $3,830.41

10.Calculate monthly income. Add line 7 + line 9.                                 10.              $6,063.24 +                         =              $6,063.24
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

11. State all other regular contributions to the expenses that you list in Schedule J.
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
   friends or relatives.
   Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
   Specify:                                                                                                                            11. +               $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                  12.
   Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                       $6,063.24
                                                                                                                                               Combined
                                                                                                                                               monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.

        Yes. Explain:




  Official Form 106I                                                 Schedule I: Your Income                                                      page 2
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Debtor 1Gloria                          Dean               Gibson                   Case number (if
          First Name                    Middle Name        Last Name                known)
Part 2: Give Details About Monthly Income

Official Form 106I. Additional page.
                                                                                For Debtor 1          For Debtor 2 or
                                                                                                      non-filing spouse
5h.Other payroll deductions. Specify:
  1. all others                                                                              $70.52
  2. Charitable contributions                                                                $34.56




  Official Form 106I                                      Schedule I: Your Income                                         page 3
                       Case 17-57632-lrc                Doc 1         Filed 04/28/17 Entered 04/28/17 15:04:17                                Desc Main
                                                                      Document      Page 50 of 76
 Fill in this information to identify your case:
 Debtor 1              Gloria                           Dean                         Gibson
                       First Name                       Middle Name                  Last Name
                                                                                                                 Check if this is:
 Debtor 2
 (Spouse, if filing)   First Name                       Middle Name                  Last Name                         An amended filing

 United States Bankruptcy Court for the:         Northern                       District of Georgia                    A supplement showing post-petition chapter 13
                                                                                                                       expenses as of the following date:
                                                                                            (State)
 Case number
 (If known)                                                                                                            MM / DD / YYYY

Official Form 106J
Schedule J: Your Expenses                                                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
 Part 1:       Describe Your Household
 1. Is this a joint case?
              No. Go to line 2

              Yes. Does Debtor 2 live in a separate household?
                        No
                        Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                No
    Do not list Debtor 1 and               Yes. Fill out this information for     Dependent's relationship to         Dependent's          Does dependent live
    Debtor 2.                              each dependent                         Debtor 1 or Debtor 2                age                  with you?
 3. Do your expenses include
    expenses of people other               No
    than
    yourself and your                      Yes
    dependents?

 Part 2:       Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                                            Your expenses
  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                          $1,050.00
      any rent for the ground or lot. 4.                                                                                                     4.
       If not included in line 4:
       4a. Real estate taxes                                                                                                                 4a                    $0.00
       4b. Property, homeowner's, or renter's insurance                                                                                     4b.                    $0.00
       4c. Home maintenance, repair, and upkeep expenses                                                                                    4c.                  $100.00
       4d. Homeowner's association or condominium dues                                                                                      4d.                    $0.00




     Official Form 106J                                                     Schedule J: Your Expenses                                                    page 1
                  Case 17-57632-lrc                Doc 1         Filed 04/28/17 Entered 04/28/17 15:04:17                    Desc Main
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Debtor 1 Gloria                             Dean                         Gibson                     Case number (if known)
          First Name                        Middle Name                  Last Name


                                                                                                                                   Your expenses
5. Additional mortgage payments for your residence, such as home equity loans                                                 5.              $0.00
6. Utilities:
   6a. Electricity, heat, natural gas                                                                                        6a.           $300.00
   6b. Water, sewer, garbage collection                                                                                      6b.           $100.00
   6c. Telephone, cell phone, Internet, satellite, and cable services                                                        6c.           $260.00
   6d. Other. Specify: lawn                                                                                                   6d           $120.00
7. Food and housekeeping supplies                                                                                             7.           $420.00
8. Childcare and children's education costs                                                                                  8.               $0.00
9. Clothing, laundry, and dry cleaning                                                                                       9.            $100.00
10. Personal care products and services                                                                                      10.           $113.00
11. Medical and dental expenses                                                                                              11.           $120.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                             12.           $300.00
    Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                       13.              $0.00
14. Charitable contributions and religious donations                                                                         14.              $0.00
15. Insurance.
   Do not include insurance deducted from your pay or included in lines 4 or 20.
   15a. Life insurance                                                                                                       15a              $0.00
   15b. Health insurance                                                                                                     15b              $0.00
   15c. Vehicle insurance                                                                                                    15c           $221.00
   15d. Other insurance. Specify:                                                                                            15d              $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
   Specify:                                                                                                                                   $0.00
                                                                                                                              16
17. Installment or lease payments:
   17a. Car payments for Vehicle 1                                                                                           17a              $0.00
   17b. Car payments for Vehicle 2                                                                                           17b              $0.00
   17c. Other. Specify:                                                                                                      17c              $0.00
   17d. Other. Specify:                                                                                                      17d              $0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from                                               $0.00
    your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                        18.
19.Other payments you make to support others who do not live with you.
   Specify:                                                                                                                  19.              $0.00
20.Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
   20a. Mortgages on other property                                                                                          20a           $965.00
   20b. Real estate taxes.                                                                                                   20b              $0.00
   20c. Property, homeowner's, or renter's insurance                                                                         20c              $0.00
   20d. Maintenance, repair, and upkeep expenses.                                                                            20d              $0.00
   20e. Homeowner's association or condominium dues                                                                          20e              $0.00




  Official Form 106J                                                    Schedule J: Your Expenses                                    page 2
                  Case 17-57632-lrc              Doc 1       Filed 04/28/17 Entered 04/28/17 15:04:17                          Desc Main
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Debtor 1 Gloria                           Dean                      Gibson                      Case number (if known)
         First Name                       Middle Name               Last Name
21.Other. Specify:                                                                                                        21                   $0.00

22. Calculate your monthly expenses.                                                                                                       $4,169.00
   22a. Add lines 4 through 21.                                                                                                                $0.00
   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                                    $4,169.00
   22c. Add line 22a and 22b. The result is your monthly expenses.                                                       22.
23.Calculate your monthly net income.
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                                     23a               $6,063.24
   23b. Copy your monthly expenses from line 22 above.                                                                   23b               $4,169.00
   23c. Subtract your monthly expenses from your monthly income.                                                                           $1,894.24
        The result is your monthly net income.                                                                           23c

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
        No
        Yes

                  Explain here:




  Official Form 106J                                               Schedule J: Your Expenses                                          page 3
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B2030 (Form 2030) (12/15)

                                             UNITED STATES BANKRUPTCY COURT
                                                             Northern District of Georgia
In re                         Gloria Dean Gibson                                                   Case No.
                                    Debtor                                                                                   (If known)
                                                                                                   Chapter                 Chapter 13

                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
        1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the abovenamed debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
           rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection w ith the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                                                     $4,250.00

             Prior to the filing of this statement I have received                                                                                  $0.00

             Balance Due                                                                                                                     $4,250.00

        2. The source of the compensation paid to me was:
                         Debtor                                      Other (specify)

        3. The source of the compensation paid to me is:
                         Debtor                                      Other (specify)

        4.       I have not agreed to share the above-disclosed compensation with any other person unless they are
                 members and associates of my law firm.
                 I have agreed to share the above-disclosed compensation with a other person or persons who are not
                 members or associates of my law firm. A copy of the agreement, together with a list of the names of
                 the people sharing in the compensation, is attached.
        5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                 a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                    bankruptcy;
                 b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                  c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                 d. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                  e. If the case is converted to another chapter or dismissed prior to confirmation of the Plan, Debtor directs the Trustee to pay
                     fees to Debtor's attorney from funds available of $2,000.00. If the case is converted or dismissed after the confirmation of the
                     Plan, Debtor directs the Trustee to pay to Debtor's attorney from funds available, any allowed fees which are unpaid.
        6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
            Post Confirmation Plan Modification $500.00; Motion to Suspend/Excuse Plan Payments $500.00; Defending Post
            Confirmation Motions to Modify Stay: No insurance or default in plan terms $300; payment disputes $750.00; Motions to Sell
            Property $750; Application to Employ Professional/Motion to Approve Compromise/Retain Proceeds - $500.00; Motion to
            Incur Debt/Refinance / Approve Loan Modification - $500.00; Motion to Reimpose Stay - $500; Trustee's motion to
            dismiss/convert (post bar review) - $300.00; Trustee's Motion to Dismiss or Modify Plan Payment - $500.00; Motion to
            Vacate Dismissal/Reopen Case/Reconsider Dismissal - $500.00 plus cost; Motion to Retain Taxes - $500.00; Letter to Retain
            Tax Refund - $250.00; Post Bar review Objection to Claim $500.00; Objection to fees per rule 3002.1 - $300/hr; Motion for
            Damages/Stay/Discharge Violation $300/hr; Adversary Proceeding - $300/hr; Appellate Practice - $300/hr; 2004 Exam -
            $300/hr; Evidentiary Hearing - $300/hr; Section 505 Hearing (determine Tax liability) - $300/hr
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B2030 (Form 2030) (12/15)



                                                              CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
  debtor(s) in this bankruptcy proceedings.
  Pursuant to General Order No. 18-2015, I certify that I provided to the debtor(s) a copy of the "Rights and Responsibilities Statement
  Between Chapter 13 Debtors and Their Attorneys."
                   4/28/2017                                                       /s/ Howie Slomka
                      Date                                                        Signature of Attorney


                                                                                      MY ATL LAW
                                                                                    Name of law firm
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                                                                                 Document      Page 55 of 76
 Fill in this information to identify your case:
 Debtor 1              Gloria                                   Dean                             Gibson
                       First Name                               Middle Name                      Last Name
 Debtor 2
 (Spouse, if filing)   First Name                               Middle Name                      Last Name
 United States Bankruptcy Court for the:              Northern                            District of Georgia
                                                                                                      (State)
 Case number
 (If known)
                                                                                                                                                                             Check if this is an
                                                                                                                                                                             amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:       Summarize Your Assets

                                                                                                                                                        Your assets
                                                                                                                                                        Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                 $69,200.00
     1a. Copy line 55, Total real estate, from Schedule A/B .....................................................................................
                                                                                                                                                                 $15,885.00
      1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................................

                                                                                                                                                                 $85,085.00
      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................


 Part 2:       Summarize Your Liabilities

                                                                                                                                                        Your liabilities
                                                                                                                                                        Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                 $171,903.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                                                     $5,400.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................
                                                                                                                                                                 $68,214.00
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........................

                                                                                                                             Your total liabilities              $245,517.00



 Part 3:       Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                 $6,063.24
     Copy your combined monthly income from line 12 of Schedule I .........................................................................

 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                 $4,169.00
     Copy your monthly expenses from line 22, Column A, of Schedule J................................................................




  Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                             page 1
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Debtor 1 Gloria                              Dean                      Gibson                       Case number (if known)
            First Name                       Middle Name               Last Name

Part 4:    Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes.

7. What kind of debt do you have?
          Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal,
          family, or household purpose. 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.
          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                                 $7,510.94
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     From Part 4 on Schedule E/F, copy the following:                                                         Total claim


     9a. Domestic support obligations (Copy line 6a.)                                                         $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                $5,400.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                      $0.00

     9d. Student loans. (Copy line 6f.)                                                                       $5,942.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as              $0.00
     priority claims. (Copy line 6g.)
                                                                                                              $0.00
     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

     9g. Total. Add lines 9a through 9f.                                                                      $11,342.00




 Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                                 page 2
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 Fill in this information to identify your case:
 Debtor 1              Gloria                       Dean                  Gibson
                       First Name                   Middle Name           Last Name
 Debtor 2
 (Spouse, if filing)   First Name                   Middle Name           Last Name
 United States Bankruptcy Court for the:     Northern                District of Georgia
                                                                                 (State)
 Case number
 (If known)
                                                                                                                                            Check if this is an
Official Form 106Dec                                                                                                                        amended filing


Declaration About an Individual Debtor's Schedules                                                                                                      12/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:       Sign Below

       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No
              Yes. Name of person                                          Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                           Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

 û Signature
    /s/ Gloria Gibson
             of Debtor 1
                                                                                  û Signature of Debtor 2
       Date 4/28/2017                                                                  Date
            MM/DD/YYYY                                                                        MM/DD/YYYY




   Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules                                   page 1
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                                           UNITED STATES BANKRUPTCY COURT
                                                   Northern District of Georgia
 In re:              Gibson, Gloria Dean
                                                                    Case No.
                             Debtor(s)

                                                                     Chapter.                        Chapter13


                                         VERIFICATION OF CREDITOR MATRIX
       The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their
knowledge.



Date:            4/28/2017                                                 /s/ Gibson, Gloria Dean
                                                                           Gibson, Gloria Dean
                                                                           Signature of Debtor




                                                                     1
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Pennymac Loan Services
6101 Condor Drive
Simi Valley, CA, 93065




Gm Financial
801 CHERRY ST STE 3900
FORT WORTH, TX, 76102




Fidelity Bank
3 CORPORATE SQ NE STE 11
ATLANTA, GA, 30329




Homeprjvisa
CSCl Dispute Team P.O. Box 14517
Des Moines, IA, 50306




WFFNATBANK
930 Juniper St NE
Atlanta, GA, 30309




Onemain
PO BOX 1010
EVANSVILLE, IN, 47706




VERIZON WIRELESS
PO BOX 49
LAKELAND, FL, 33802




Mattress Frm
CSCL DISPUTE TEAM PO BOX 14517
DES MOINES, IA, 50306




WFFNATLBNK
930 Juniper St NE
Atlanta, GA, 30309




SYNCB/CARE CREDIT
950 FORRER BLVD
KETTERING, OH, 45420




Preferred Credit Inc
628 ROOSEVELT RD
SAINT CLOUD, MN, 56301
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DEPT OF ED/NAVIENT
PO BOX 9635
WILKES BARRE, PA, 18773




BBY/CBNA
PO BOX 6497
SIOUX FALLS, SD, 57117




Sears/Cbna
Po Box 6282
Sioux Falls, SD, 57117




SYNCB/AMAZON
13354 Manchester Rd #101
Saint Louis, MO, 63131




SYNCB/SAMS CLUB
PO BOX 981400
EL PASO, TX, 79998




CREDIT FIRST N A
6275 EASTLAND RD
BROOK PARK, OH, 44142




COMENITY CAPITAL/HSN
995 W 122ND AVE
WESTMINSTER, CO, 80234




CREDIT ONE BANK NA
PO BOX 98875
LAS VEGAS, NV, 89193




KOHLS/CAPONE
N56 W 17000 RIDGEWOOD DR
MENOMONEE FALLS, WI, 53051




SYNCB/LOW
PO BOX 956005
ORLANDO, FL, 32896




THD/CBNA
2690 Cumberland Pkwy SE Ste 300
Atlanta, GA, 30339
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1St Franklin
P.O. Box 999
Mcdonough, GA, 30253




Georgia Department Of Revenue
1800 Century Blvd Suite 17200
Atlanta, GA, 30345




Internal Revenue Service
P.O. Box 7346
Philadelphia, PA, 19101




Greg Chastain
381 Kurtz Rd
Marietta, GA, 30066
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)
                                                                        Chapter 7: Liquidation
   This notice is for you if:

      You are an individual filing for                                            $245    filing fee
      bankruptcy,                                                                  $75    administrative fee
      and                                                               +          $15    trustee surcharge
                                                                                  $335    total fee
      Your debts are primarily consumer
      debts.                                                            Chapter 7 is for individuals who have financial
      Consumer debts are defined in 11 U.S.C. § 101(8) as               difficulty preventing them from paying their debts
      "incurred by an individual primarily for a                        and who are willing to allow their nonexempt
      personal, family, or household purpose."                          property to be used to pay their creditors. The
                                                                        primary purpose of filing under chapter 7 is to have
                                                                        your debts discharged. The bankruptcy discharge
The types of bankruptcy that are                                        relieves you after bankruptcy from having to pay
available to individuals                                                many of your pre-bankruptcy debts. Exceptions exist
                                                                        for particular debts, and liens on property may still
Individuals who meet the qualifications may file under                  be enforced after discharge. For example, a creditor
one of four different chapters of the Bankruptcy Code:                  may have the right to foreclose a home mortgage or
                                                                        repossess an automobile.
    Chapter 7 — Liquidation
                                                                        However, if the court finds that you have committed
    Chapter 11 — Reorganization                                         certain kinds of improper conduct described in the
    Chapter 12 — Voluntary repayment plan                               Bankruptcy Code, the court may deny your
                 for family farmers or                                  discharge.
                 fishermen
                                                                        You should know that even if you file chapter 7 and
    Chapter 13 — Voluntary repayment plan                               you receive a discharge, some debts are not
                 for individuals with regular                           discharged under the law. Therefore, you may still
                 income                                                 be responsible to pay:
You should have an attorney review your                                     most taxes;
decision to file for bankruptcy and the choice                              most student loans;
of chapter.
                                                                            domestic support and property settlement
                                                                            obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                          page 1
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    most fines, penalties, forfeitures, and criminal                     your income is more than the median income for
    restitution obligations; and                                         your state of residence and family size, depending
                                                                         on the results of the Means Test, the U.S. trustee,
    certain debts that are not listed in your bankruptcy                 bankruptcy administrator, or creditors can file a
    papers.                                                              motion to dismiss your case under § 707(b) of the
                                                                         Bankruptcy Code. If a motion is filed, the court will
You may also be required to pay debts arising from:                      decide if your case should be dismissed. To avoid
                                                                         dismissal, you may choose to proceed under another
    fraud or theft;                                                      chapter of the Bankruptcy Code.
    fraud or defalcation while acting in breach of                       If you are an individual filing for chapter 7
    fiduciary capacity;                                                  bankruptcy, the trustee may sell your property to
                                                                         pay your debts, subject to your right to exempt the
    intentional injuries that you inflicted; and                         property or a portion of the proceeds from the sale
    death or personal injury caused by operating a                       of the property. The property, and the proceeds
    motor vehicle, vessel, or aircraft while intoxicated                 from property that your bankruptcy trustee sells or
    from alcohol or drugs.                                               liquidates that you are entitled to, is called exempt
                                                                         property. Exemptions may enable you to keep your
                                                                         home, a car, clothing, and household items or to
If your debts are primarily consumer debts, the court                    receive some of the proceeds if the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                       Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                        you must list it on Schedule C: The Property You
Monthly Income (Official Form 122A-1) if you are an                      Claim as Exempt (Official Form 106C). If you do not
individual filing for bankruptcy under chapter 7. This                   list the property, the trustee may sell it and pay all
form will determine your current monthly income                          of the proceeds to your creditors.
and compare whether your income is more than the
median income that applies in your state.
                                                                         Chapter 11: Reorganization
If your income is not above the median for your state,
you will not have to complete the other chapter 7                                $1,167    filing fee
form, the Chapter 7 Means Test Calculation (Official                     +        $550     administrative fee
Form 122A-2).                                                                    $1,717    total fee
If your income is above the median for your state, you
must file a second form - the Chapter 7 Means Test                       Chapter 11 is often used for reorganizing a
Calculation (Official Form 122A-2). The calculations                     business, but is also available to individuals. The
on the form - sometimes called the Means Test -                          provisions of chapter 11 are too complicated to
deduct from your income living expenses and                              summarize briefly.
payments on certain debts to determine any amount
available to pay unsecured creditors. If




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                             page 2
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Read These Important Warnings
Because bankruptcy can have serious long-term financial and legal consequences, including loss of your property,
you should hire an attorney and carefully consider all of your options before you file. Only an attorney can give you
legal advice about what can happen as a result of filing for bankruptcy and what your options are. If you do file for
bankruptcy, an attorney can help you fill out the forms properly and protect you, your family, your home, and your
possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that many people find it
difficult to represent themselves successfully. The rules are technical, and a mistake or inaction may harm you. If you
file without an attorney, you are still responsible for knowing and following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your bankruptcy case.
Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,
1341, 1519, and 3571.




Chapter 12: Repayment plan for family                                    Under chapter 13, you must file with the court a
            farmers or fishermen                                         plan to repay your creditors all or part of the money
                                                                         that you owe them, usually using your future
                                                                         earnings. If the court approves your plan, the court
          $200     filing fee                                            will allow you to repay your debts, as adjusted by
+          $75     administrative fee                                    the plan, within 3 years or 5 years, depending on
          $275     total fee                                             your income and other factors.
                                                                         After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family                         many of your debts are discharged. The debts that
farmers and fishermen to repay their debts over a                        are not discharged and that you may still be
period of time using future earnings and to discharge                    responsible to pay include:
some debts that are not paid.
                                                                            domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                        most student loans,
            income                                                          certain taxes,
                                                                            debts for fraud or theft,
          $235     filing fee
+          $75     administrative fee                                       debts for fraud or defalcation while acting in a
          $310     total fee
                                                                            fiduciary capacity,
                                                                            most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income                       certain debts that are not listed in your
and would like to pay all or part of their debts in                         bankruptcy papers,
installments over a period of time and to discharge
some debts that are not paid. You are eligible for                          certain debts for acts that caused death or
chapter 13 only if your debts are not more than certain                     personal injury, and
dollar amounts set forth in 11 U.S.C. § 109.
                                                                            certain long-term secured debts.


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                page 3
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                                                                     A married couple may file a bankruptcy case together -
   Warning: File Your Forms on Time                                  called a joint case. If you file a joint case and each spouse
                                                                     lists the same mailing address on the bankruptcy
   Section 521(a)(1) of the Bankruptcy Code requires                 petition, the bankruptcy court generally will mail you
   that you promptly file detailed information about                 and your spouse one copy of each notice, unless you file a
   your creditors, assets, liabilities, income, expenses             statement with the court asking that each spouse receive
   and general financial condition. The court may                    separate copies.
   dismiss your bankruptcy case if you do not file this
   information within the deadlines set by the
   Bankruptcy Code, the Bankruptcy Rules, and the                    Understand which services you
   local rules of the court                                          could receive from credit
                                                                     counseling agencies
   For more information about the documents and
   their deadlines, go to:                                           The law generally requires that you receive a credit
   http://www.uscourts.gov/bkforms/bankruptcy_form                   counseling briefing from an approved credit counseling
   s.html#procedure.                                                 agency. 11 U.S.C. § 109(h). If you are filing a joint case,
                                                                     both spouses must receive the briefing. With limited
                                                                     exceptions, you must receive it within the 180 days
Bankruptcy crimes have serious                                       before you file your bankruptcy petition. This briefing
consequences                                                         is usually conducted by telephone or on the Internet.
    If you knowingly and fraudulently conceal                        In addition, after filing a bankruptcy case, you generally
    assets or make a false oath or statement under                   must complete a financial management instructional
    penalty of perjury - either orally or in writing -               course before you can receive a discharge. If you are
    in connection with a bankruptcy case, you may                    filing a joint case, both spouses must complete the
    be fined, imprisoned, or both.                                   course.
    All information you supply in connection with
    a bankruptcy case is subject to examination by                   You can obtain the list of agencies approved to provide
    the Attorney General acting through the Office                   both the briefing and the instructional course from:
                                                                     http://www.justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
    of the U.S. Trustee, the Office of the U.S.
    Attorney, and other offices and employees of
    the U.S. Department of Justice.                                  In Alabama and North Carolina, go to:
                                                                     http://www.uscourts.gov/FederalCourts/Bankruptcy/
Make sure the court has your                                         BankruptcyResources/ApprovedCredit
mailing address                                                      20AndDebtCounselors.aspx

The bankruptcy court sends notices to the mailing                    If you do not have access to a computer, the clerk of the
address you list on Voluntary Petition for Individuals               bankruptcy court may be able to help you obtain the list.
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address.




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                              page 4
                       Case 17-57632-lrc              Doc 1         Filed 04/28/17 Entered 04/28/17 15:04:17                                  Desc Main
                                                                    Document      Page 66 of 76
 Fill in this information to identify your case:
                                                                                                                  Check as directed in lines 17 and 21:
 Debtor 1              Gloria                          Dean                       Gibson
                       First Name                      Middle Name                Last Name                       According to the calculations required by
 Debtor 2                                                                                                         this Statement:
 (Spouse, if filing)   First Name                      Middle Name                Last Name
                                                                                                                      1. Disposable income is not determined
 United States Bankruptcy Court for the:       Northern                      District of Georgia                         under 11 U.S.C. § 1325(b)(3).
                                                                                         (State)                      2. Disposable income is determined
 Case number                                                                                                             under 11 U.S.C. § 1325(b)(3).
 (If known)
                                                                                                                      3. The commitment period is 3 years.
                                                                                                                      4. The commitment period is 5 years.

                                                                                                                       Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                   12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages,
write your name and case number (if known).

 Part 1:       Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.

      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11
      U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly
      income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than
      once. For example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for
      any line, write $0 in the space.
                                                                                                          Column A                   Column B
                                                                                                          Debtor 1                   Debtor 2
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                       $6,210.94
     payroll deductions).
  3. Alimony and maintenance payments. Do not include payments from a spouse.                             $0.00
  4. All amounts from any source which are regularly paid for household expenses of you
     or your dependents, including child support. Include regular contributions from an
     unmarried partner, members of your household, your dependents, parents, and
     roommates. Do not include payments from a spouse. Do not include payments you listed                 $0.00
     on line 3.
  5. Net income from operating a business, profession,       Debtor 1     Debtor 2
     or farm
    Gross receipts (before all deductions)                   $0.00
      Ordinary and necessary operating expenses                     -$0.00        -
      Net monthly income from a business, profession, or farm        $0.00                         Copy   $0.00
                                                                                                   here
  6. Net income from rental and other real property                  Debtor 1         Debtor 2
      Gross receipts (before all deductions)                         $0.00
      Ordinary and necessary operating expenses                     -$0.00        -
      Net monthly income from a business, profession, or farm        $0.00                         Copy   $0.00
                                                                                                   here




   Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                 page 1
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Debtor 1 Gloria                              Dean                       Gibson                     Case number (if known)
           First Name                        Middle Name                Last Name

                                                                                                     Column A                     Column B
                                                                                                     Debtor 1                     Debtor 2
 7. Interest, dividends, and royalties                                                               $0.00
 8. Unemployment compensation                                                                        $0.00
   Do not enter the amount if you contend that the amount received was a benefit under the
   Social Security Act. Instead, list it here:
   For you                                                          $1,877.00
   For your spouse
 9. Pension or retirement income. Do not include any amount received that was a benefit              $1,300.00
     under the Social Security Act.
10.Income from all other sources not listed above. Specify the source and amount. Do not
    include any benefits received under the Social Security Act or payments received as a victim
    of a war crime, a crime against humanity, or international or domestic terrorism.
   If necessary, list other sources on a separate page and put the total below.




   Total amounts from separate pages, if any.                                                      +$0.00                        +$0.00

11.Calculate your total current monthly income. Add lines 2 through 10 for each
   column. Then add the total for Column A to the total for Column B.
                                                                                                     $7,510.94          +         $0.00          =    $7,510.94
                                                                                                                                                 Total current
                                                                                                                                                 monthly income

Part 2:   Determine How to Measure Your Deductions from Income
12. Copy your total average monthly income from line                                                                                                 $7,510.94
    11.
13. Calculate the marital adjustment. Check one:
            You are not married. Fill in 0 below.
            You are married and your spouse is filing with you. Fill in 0 below.
            You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
           dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
           adjustments on a separate page.
           If this adjustment does not apply, enter 0 below.




                                                                                                                            +
          Total                                                                                      $0.00                      Copy here         -$0.00

14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                      $7,510.94
15. Calculate your current monthly income for the year. Follow these steps:
    15a. Copy line 14 here                                                                                                                        $7,510.94
            Multiply line 15a by 12 (the number of months in a year).                                                                             x 12
      15b. The result is your current monthly income for the year for this part of the                                                            $90,131.28
           form.




 Official Form 122C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                            page 2
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Debtor 1 Gloria                              Dean                         Gibson                    Case number (if known)
          First Name                         Middle Name                  Last Name

16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                       Georgia
      16b. Fill in the number of people in your household.            1
    16c. Fill in the median family income for your state and size of                                                                                $43,274.00
         household                                                               To find a list of applicable median income amounts, go online
         using the link specified in the separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
17. How do the lines compare?
      17a.        Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined
                  under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 122C-2).

      17b.        Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11
                  U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 122C-2). On line 39 of that
                  form, copy your current monthly income from line 14 above.

Part 3:   Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)
18. Copy your total average monthly income from line 11.                                                                                            $7,510.94
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that calculating the
    commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's income, copy the amount from line 13.
      19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                         -$0.00

    19b. Subtract line 19a from line 18.                                                                                                            $7,510.94
20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b.                                                                                                                           $7,510.94
             Multiply by 12 (the number of months in a year).                                                                                       x 12
      20b. The result is your current monthly income for the year for this part of the form.                                                        $90,131.28

      20c. Copy the median family income for your state and size of household from line 16c.                                                        $43,274.00

21. How do the lines compare?
             Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The
             commitment period is 3 years. Go to Part 4.
             Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box
             4, The commitment period is 5 years. Go to Part 4.

Part 4:   Sign Below

          By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


             ûSignature
                /s/ Gloria Gibson
                        of Debtor 1
                                                                                      ûSignature of Debtor 2
                 Date 4/28/2017                                                          Date
                      MM/DD/YYYY                                                                MM/DD/YYYY

          If you checked 17a, do NOT fill out or file Form 122C-2.
          If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14
          above.




 Official Form 122C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 3
                       Case 17-57632-lrc              Doc 1       Filed 04/28/17 Entered 04/28/17 15:04:17                                 Desc Main
                                                                  Document      Page 69 of 76
 Fill in this information to identify your case:
 Debtor 1              Gloria                         Dean                     Gibson
                       First Name                     Middle Name              Last Name
 Debtor 2
 (Spouse, if filing)   First Name                     Middle Name              Last Name
 United States Bankruptcy Court for the:      Northern                    District of Georgia
                                                                                      (State)
 Case number
 (If known)
                                                                                                                                        Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                                   12/15
To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
(Official Form 122C-1).
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages,
write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

        The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
        answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
        this form. This information may also be available at the bankruptcy clerk's office.
        Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
        actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and
        6 of Form 122C-1, and do not deduct any amounts that you subtracted from your spouse's income in line 13 of Form 122C-1.
        If your expenses differ from month to month, enter the average expense.
        Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

        5.     The number of people used in determining your deductions from income
               Fill in the number of people who could be claimed as exemptions on your federal income tax return,                          1
               plus the number of any additional dependents whom you support. This number may be different from
               the number of people in your household.

        National Standards              You must use the IRS National Standards to answer the questions in lines 6-7.

        6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill                   $570.00
               in the dollar amount for food, clothing, and other items.


        7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
               fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories-people who are
               under 65 and people who are 65 or older-because older people have a higher IRS allowance for health care costs. If your
               actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.




   Official Form 122C-2                                    Chapter 13 Calculation of Your Disposable Income                                              page 1
                  Case 17-57632-lrc                    Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                                  Desc Main
                                                                    Document      Page 70 of 76
Debtor 1 Gloria                                 Dean                          Gibson                     Case number (if known)
           First Name                           Middle Name                   Last Name

           People who are under 65 years of age

           7a.    Out-of-pocket health care allowance per person          $54.00

           7b. Number of people who are under 65                          0

           7c.    Subtotal. Multiply line 7a by line 7b.                  $0.00              Copy here        $0.00

           People who are over 65 years of age

           7d.    Out-of-pocket health care allowance per person          $130.00

           7e.    Number of people who are 65 or older                    1

           7f.    Subtotal. Multiply line 7d by line 7e.                  $130.00            Copy here       +$130.00

           7g.    Total. Add lines 7c and 7f.                                                                 $130.00             Copy here        $130.00


     Local                              You must use the IRS Local Standards to answer the questions in lines 8-15.
     Standards

     Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
     bankruptcy purposes into two parts:

          Housing and utilities - Insurance and operating expenses
          Housing and utilities - Mortgage or rent expenses
     To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified
     in the separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.

     8.     Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
            in the dollar amount listed for your county for insurance and operating expenses.                                                          $479.00

     9.     Housing and utilities - Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount listed
                for your county for mortgage or rent expenses.                                                                    $1,067.00
            9b. Total average monthly payment for all mortgages and other debts secured by
                your home.
            To calculate the total average monthly payment, add all amounts that are
            contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.

           Name of the creditor                                       Average monthly
                                                                      payment

           Pennymac Loan Services                                     $965.00




                                                                      +

                                                                                             Copy here                        Repeat this amount
                          9b. Total average monthly payment               $965.00                            -$965.00         on line 33a.
           9c. Net mortgage or rent expense.
               Subtract line 9b ( total average monthly payment) from line 9a ( mortgage or                   $102.00             Copy here            $102.00
               rent expense). If this amount is less than $0, enter $0.
     10.     If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and affects the
             calculation of your monthly expenses, fill in any additional amount you claim.                                                            $0.00

             Explain
             why:




 Official Form 122C-2                                         Chapter 13 Calculation of Your Disposable Income                                               page 2
                  Case 17-57632-lrc                  Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                                  Desc Main
                                                                  Document      Page 71 of 76
Debtor 1 Gloria                               Dean                        Gibson                         Case number (if known)
           First Name                         Middle Name                 Last Name

     11.     Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
                  0. Go to line 14.
                  1. Go to line 12.
                  2 or more. Go to line 12.
     12.     Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating               $231.00
             expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.
     13.     Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
             vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may
             not claim the expense for more than two vehicles.
             Vehicle 1      Describe Vehicle 1:


             13a. Ownership or leasing costs using IRS Local Standard.                                                            $471.00
             13b. Average monthly payment for all debts secured by Vehicle 1.
                  Do not include costs for leased vehicles.
                  To calculate the average monthly payment here and on line 13e, add all
                  amounts that are contractually due to each secured creditor in the 60 months
                  after you filed for bankruptcy. Then divide by 60.

           Name of each creditor for Vehicle 1                      Average monthly
                                                                    payment

           Fidelity Bank                                            $259.02

                                                                    +

                                                                                             Copy here                        Repeat this
                             Total average monthly payment              $259.02                              -$259.02         amount on
                                                                                                                              line 33b.

                                                                                                                              Copy net
           13c. Net Vehicle 1 ownership or lease expense                                                                      Vehicle 1
                Subtract line 13b from line 13a. If this amount is less than $0, enter $0.                    $211.98         expense            $211.98
                                                                                                                              here

     14.     Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public
             Transportation expense allowance regardless of whether you use public transportation.
     15.     Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also deduct
             a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim more than the $0.00
             IRS Local Standard for Public Transportation.




 Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                        page 3
                  Case 17-57632-lrc               Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                                  Desc Main
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Debtor 1 Gloria                            Dean                       Gibson                       Case number (if known)
           First Name                      Middle Name                Last Name
    Other Necessary Expenses In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                   the following IRS categories.
    16. Taxes:The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
          employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your pay for               $1,889.86
          these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and subtract that number
          from the total monthly amount that is withheld to pay for taxes.
          Do not include real estate, sales, or use taxes.
     17.    Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions, union
            dues, and uniform costs.                                                                                                               $0.00
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.
     18.    Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
            together, include payments that you make for your spouse's term life insurance. Do not include premiums for life insurance on          $206.52
            your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than term.
     19.    Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative agency,
            such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.              $0.00

     20.    Education: The total monthly amount that you pay for education that is either required:
               as a condition for your job, or                                                                                                     $0.00
               for your physically or mentally challenged dependent child if no public education is available for similar services.
     21.    Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
            Do not include payments for any elementary or secondary school education.                                                              $0.00

     22.    Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is required
            for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health savings account.
            Include only the amount that is more than the total entered in line 7. Payments for health insurance or health savings accounts         $0.00
            should be listed only in line 25.
     23.    Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for you
            and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone service, to the
            extent necessary for your health and welfare or that of your dependents or for the production of income, if it is not reimbursed by +$0.00
            your employer..
            Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment expenses,
            such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.
     24.    Add all of the expenses allowed under the IRS expense allowances.
            Add lines 6 through 23.                                                                                                                $3,820.36

     Additional Expense                     These are additional deductions allowed by the Means Test.
     Deductions                             Note: Do not include any expense allowances listed in lines 6-24.
     25.    Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health insurance,
            disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your


             Health insurance                                 $301.51
             Disability insurance                             $0.00
             Health savings account                          +$0.00

             Total                                             $301.51                          Copy total here                                    $301.51
             Do you actually spend this total amount?
                  No. How much do you actually spend?
                  Yes

     26.    Continuing contributions to the care of household or family members. The actual monthly expenses that you will continue to
            pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your household or
            member of your immediate family who is unable to pay for such expenses. These expenses may include contributions to an                 $0.00
            account of a qualified ABLE program. 26 U.S.C. § 529A(b).
     27.    Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of you and
            your family under the Family Violence Prevention and Services Act or other federal laws that apply.
                                                                                                                                                   $0.00
            By law, the court must keep the nature of these expenses confidential.




 Official Form 122C-2                                    Chapter 13 Calculation of Your Disposable Income                                              page 4
                  Case 17-57632-lrc                Doc 1       Filed 04/28/17 Entered 04/28/17 15:04:17                                  Desc Main
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Debtor 1 Gloria                            Dean                       Gibson                       Case number (if known)
           First Name                      Middle Name                Last Name

     28.    Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on line 8, then fill
            in the excess amount of home energy costs.
            You must give your case trustee documentation of your actual expenses, and you must show that the additional amount claimed           $0.00
            is reasonable and necessary.

     29.    Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $160.42* per
            child) that you pay for your dependent children who are younger than 18 years old to attend a private or public elementary or
            secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
            reasonable and necessary and not already accounted for in lines 6-23.                                                                 $0.00

            * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

     30.    Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher than
            the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the food and           $0.00
            clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for this
            form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.

     31.    Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                +$37.33
            instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).

     32.    Add all of the additional expense deductions.
            Add lines 25 through 31.                                                                                                              $338.84

     Deductions for Debt Payment
     33.    For debts that are secured by an interest in property that you own, including home mortgages, vehicle loans, and other
            secured debt, fill in lines 33a through 33e. The monthly expenses for health insurance, disability
            To calculate the total average monthly payment, add all amounts that are contractually due to each secured creditor in the 60
            months after you file for bankruptcy. Then divide by 60.

              Mortgages on your home:                                                                          Average monthly
                                                                                                               payment
            33a. Copy line 9b here      $965.00                                                                $965.00
                    Loans on your first two vehicles:
            33b. Copy line 13b here.     $259.02                                                               $259.02

            33c. Copy line 13e here.     $0.00                                                                 $0.00

            33d. List other secured debts:

                   Name of each creditor for other         Identify property that           Does payment
                   secured debt                            secures the debt                 include taxes
                                                                                            or insurance?

           33e. Total average monthly payment. Add lines 33a through 33d.                                       $1,224.02                Copy total       $1,224.02
                                                                                                                                         here




 Official Form 122C-2                                    Chapter 13 Calculation of Your Disposable Income                                             page 5
                  Case 17-57632-lrc                   Doc 1         Filed 04/28/17 Entered 04/28/17 15:04:17                                   Desc Main
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Debtor 1 Gloria                                Dean                         Gibson                          Case number (if known)
           First Name                          Middle Name                  Last Name

     34.    Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
            or other property necessary for your support or the support of your dependents?

                  No. Go to line 35.

                  Yes. State any amount that you must pay to a creditor, in addition to the payments
                       listed in line 33, to keep possession of your property (called the cure amount).
                       Next, divide by 60 and fill in the information below.

                    Name of the creditor                 Identify property              Total cure                       Monthly cure
                                                         that                           amount                           amount
                                                         secures the debt
                    Pennymac Loan Services               360 Mortgage                   $10,693.00         ÷ 60 =      +$178.22

                    Fidelity Bank                        2014 Hyundai Elantra           $0.00              ÷ 60 =      +$0.00

                                                                                                           Total         $178.22             Copy total    $178.22
                                                                                                                                             here

     35.    Do you owe any priority claims such as a priority tax, child support, or alimony -
            that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

                  No. Go to line 36.

                  Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing priority claims, such as those you
                       listed in line 19.

                    Total amount of all past-due priority claims                                                         $5,400.00            ÷ 60 =       $90.00

    36. Projected monthly Chapter 13 plan payment                                                                       $3,233.44
           Current multiplier for your district as stated on the list issued by the Administrative Office of the
           United States Courts (for districts in Alabama and North Carolina) or by the Executive Office for            5.70 %
           United States Trustees (for all other districts).
           To find a list of district multipliers that includes your district, go online using the link specified in
           the separate instructions for this form. This list may also be available at the bankruptcy clerk's
           office.                                                                                                      $184.30            Copy total
                                                                                                                                           here           $184.30
           Average monthly administrative expense

    37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                             $1,676.54

    Total Deductions from Income
    38. Add all of the allowed deductions.

           Copy line 24, All of the expenses allowed under IRS expense                                                  $3,820.36
           allowances
           Copy line 32, All of the additional expense                                                                  $338.84
           deductions
           Copy line 37, All of the deductions for debt payment                                                        +$1,676.54

           Total deductions                                                                                             $5,835.74          Copy total     $5,835.74
                                                                                                                                           here




 Official Form 122C-2                                        Chapter 13 Calculation of Your Disposable Income                                              page 6
                  Case 17-57632-lrc              Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                                  Desc Main
                                                              Document      Page 75 of 76
Debtor 1 Gloria                           Dean                       Gibson                        Case number (if known)
          First Name                      Middle Name                Last Name

Part 2:   Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)
39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13                                                               $7,510.94
    Statement of Your Current Monthly Income and Calculation of Commitment
    Period
40. Fill in any reasonably necessary income you receive for support for dependent children.
    The monthly average of any child support payments, foster care payments, or disability payments
    for a dependent child, reported in Part I of Form 122C-1, that you received in accordance with         $0.00
    applicable nonbankruptcy law to the extent reasonably necessary to be expended for such child.
41. Fill in all qualified retirement deductions. The monthly total of all amounts that your employer
    withheld from wages as contributions for qualified retirement plans, as specified in 11 U.S.C. §       $344.84
    541(b)(7) plus all required repayments of loans from retirement plans, as specified in 11 U.S.C. §
    362(b)(19).
42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here                      $5,835.74
43. Deduction for special circumstances. If special circumstances justify additional expenses and
    you have no reasonable alternative, describe the special circumstances and their expenses. You
    must give your case trustee a detailed explanation of the special circumstances and documentation
    for the expenses.

      Describe the special circumstances                         Amount of
                                                                 expense




                                                                 +

                                                    Total         $0.00                Copy here
                                                                                                       +$0.00
44.   Total adjustments. Add lines 40 through                                                          $6,180.58                   Copy here     -$6,180.58
      43

45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                                  $1,330.36
Part 3:   Change in Income or Expenses
46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form have changed or
    are virtually certain to change after the date you filed your bankruptcy petition and during the time your case will be open, fill in
    the information below. For example, if the wages reported increased after you filed your petition, check 122C-1 in the first
    column, enter line 2 in the second column, explain why the wages increased, fill in when the increase occurred, and fill in the
    amount of the increase.
    Form                  Line       Reason for change                            Date of change            Increase or       Amount of change
                                                                                                            decrease?

          122C-1        2           Less overtime                                5/1/2017                       Increase    $1,366.00
          122C-2                                                                                                Decrease

          122C-1                                                                                                Increase
          122C-2                                                                                                Decrease

          122C-1                                                                                                Increase
          122C-2                                                                                                Decrease

          122C-1                                                                                                Increase
          122C-2                                                                                                Decrease




 Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                          page 7
                  Case 17-57632-lrc               Doc 1        Filed 04/28/17 Entered 04/28/17 15:04:17                                     Desc Main
                                                               Document      Page 76 of 76
Debtor 1 Gloria                            Dean                       Gibson                       Case number (if known)
          First Name                       Middle Name                Last Name

Part 4:   Sign Below
 By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


û Signature
   /s/ Gloria Gibson
            of Debtor 1
                                                                                   û Signature of Debtor 2
    Date 4/28/2017                                                                      Date
         MM/DD/YYYY                                                                            MM/DD/YYYY
